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TRULINCS 57447066 - WADLEY, LODISE - Unit: GIL-B-C

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FROM: 57447066

TO:

SUBJECT: motion

DATE: 04/07/2021 07:13:59 AM

In The United States District Court
For The Eastern District of Pennsylvania

Lodise Wadley
v. - Case No. 03-00249-01

United States

MOTION PURSUANT TO 18 U.S.C. 3582(C)(1)(A)(i} REFERENCING CONGRESS'S RECENT CHANGES TO 3582 FOR THE
INTEREST OF SENTENCING MODIFICATION BASED UPON EXTRADODINARY AND COMPELLING REASONS FOR
COMPASSIONATE RELEASE

Comes now, Lodise Wadley Pro Se respectfully moves this court to grant his motion for compassionate release under 18
U.S.C 3582 (c)(1)(A) based on the "extraordinary and compelling reasons" in light of the significant sentencing disparity created
by the First Step Act of 2018. A defendant proceeding Pro Se may meet the burden by demonstrating (1) that he satisfied the
statuory exhaustion requirement (2) that extraodinary and compelling reason exist for a sentencing reduction, and (3) That a
sentence reduction is consistent with the applicable sentencing guidelines provision. United states v. Schultz_F.Supp.3d_2020
U.S. Dist Lexis 66512, 2020 WL 1872352 at *2(W.D My April 15,2020) specifically, The First Step Act states, "a defendant may
go to Court, after the defendant has fully exhausted all administrative rights to appeal a failure of the Bureau of prisons to bring
a motion on the defendants behalf of the lapse of 30 days from receipt of such a request by the warden of the defendant's
facility, whichever is earlier. 18 U.S.C 3582 (c}(1)(A)

Pursant to congress's direction, and prior the First Step Act, the sentencing commission established four categories of
circumstances in which in the commisions view, "Extraordinary and complling reasons" exist. U.S. Sentencing guidelines
manual 1B1.13 cmt.ni (U.S.S.C 2018). Those circumstances relate generally to : (1) The defendants medical condition; The
defendants age; the defendant's family circumstances, and any other reason that the BOP director determines to be
extraordinary and compelling.ID. What circumstances might otherwise be deemed “extraordinary and compelling" under that
last, catch-all provision, were not further clarified, but were left to the BOP director to determine. See; United States v.
Rodriguez, No 2:03-cr-271,2020 WL 1627331, at 2 (E.D. Pa. Apr 1,2020). However, the majority of courts have concluded that
they are no longer bound by the specific categories identified by the sentencing commision prior to the enactment of the First
Step Act. See United States v. Young No. 00-cr-00002, 2020 WL 1047815. of *6 (M.D. Tenn. Mar. 4, 2020) ("a majority of the
district courts that have considered the issue have.. held, based on the First Step Act, That they have the authority to reduce a
prisoner's sentence upon the court's independent finding of extraordinary or compelling reasons"}(Citing case). So now the
defendant himself may bring a motion for relief, regardless of whether the BOP director considers such relief appropriate, If
administrative remedies were properly exhausted, See United States v. Raia, 954 f.3d.594 597 (3rd. Cir 2020) Administrative
remedies have been exhausted see exhibit (Appendix D)

Summary

As of date, petitoner suffers from an obvious improper and undeserved sentence compounded by a complex series of related
parts. All of which, if addressed today would result in a much less severe sentence. First, Petitioner is restrained by the
unwarranted wrath of two stacked 924(c)'s resulting in 30 years, 20 years more than he would receive today. Second, he is
further restrained by a career offender designation, no longer applicable since Mathis v. United States, 136 s ct. 2243, 195 |. Ed.
2d 604 (2016) deemed burglary not a crime of violence. Also the sentencing commissions removal of residential burglary from
the list of crimes that lead to a career offender designation strengthens this point. Third, petitioner is moored by means of a 841
(b)(1){c) conviction for a specified amount of (.664 milligrams) of crack cocaine (which substantiates the basis for the career
offender designation, the 924{c) conviction and a school zone enhancement). This offense has been affected by The Fair
Sentencing Act reversal of the draconian crack laws that disproportionally affected the African Americans incarcerated in this
country. This provision (The Fair Sentence Act) was made retoractive by way of the First Step Act. The First, Fourth, and the
Seventh circuits all deem 841(b)(1)(c) a "Covered Offense" For the purpose of First Step Act relief, However, the Third Circuit
disagrees. Fourth, The ground breaking descision in United States v. Rehaif, 139 ¢ er. 2191,2194 2200(2019) which has
invalidated petitoner's 18 U.S.C 922(G)(1) and 924 (a)(2) convetions which are predicate offenses for the stacked 924(c)s.

 
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Despite this strenuous predicament petitoner has reformed his mindset and priorities hopefully to place beyond dispute his
rehabiliatation efforts.

Material Facts
The following facts are material to the remedy sought in this request :

4.O0n November 4, 2003, a Superceding indictment was returned against petitioner in the United States District Court for the
Eastern District of Pennsylvania in case No. 2-03-cr-249. Through the superceding indictment petitioner was charged with
violation of 21 U.S.C 841(a)(1) possession with the intent to distribute cocaine base (counts 1 and 3); 21 U.S.C 841 (a);(b)(1){c)
(distribution of a detectable amount of cocaine base:(Count 4); 21 U.S.C, 860{distribution of an possession with intent to
distribute cocaine base within 1,000 feet of a school) (counts 2 and 5); 21 U.S.C 856 (a){1) (maintaining a residence for
manufacturing, distributing, and using controlled substance (count 8) ; U.S.C. 924 (c){1) (carrying a firearm during and inrelation
to a drug trafficking crime) (count 6); 18 U.S.C. 924 (C)(1) (possessing a firearm in furtherance of a drug trafficking crime){count
9); 18 U.S.C. 922(G) (possession of a firearm by a conviceted felon) (count 7 and 10); and 18 U.S.C. 931 (possession of body
armor by a convicted felon)(count 11).

2. On February 24,2004, the parties proceeded to a bifurcated jury trial. On Febuary 26, 2004, petitioner was convicted of
counts 3,4,5,6,8, and 9 after completion of the first phase of the bifurcated trial. Petitioner was then convicted of counts 7,10,
and 11 after completing the second phase of the bifurcated jury trial.

3. On January 20, 2005, petitioner was sentenced to the following :

Count 3- 21 U.S.C 841 {a} 262 Months
Count 4- 21 U.S.C 8474 (a) 262 Months
Count 5- 21 U.S.C 8474 (a) 262 Months
Count 7- 18 U.S.C 922 (g) 120 Months
Count 8- 21 U.S.C 856 (a)(1) * 120 Months
Count 10- 18 U.S.C 922 (g) 120 Months
Count 11- 18 U.S.C 934 36 Months
Count 6- 18 U.S.C 924(c)(1) 60 Months
Count 9- 18 U.S.C 924(c)(1) 300 Months

4.The Sentence for 3,4,5,7,8,10 and 11 were ran concurrently (262 months). In accordance with 18 U.S.C. 924 (c)(1), the
sentence for count 6 (60 months) and 9 (300 months), were ran consecutive to the sentences for counts 3,4,5,7,8,10,11 and
each other, for a total sentence for 622 months.

5,.On January 26,2005 petitioner filed a notice of appeal seeking to appeal the January 20,2005, sentence.See 2:03-cr-249(E.D.
Pa) ECF nos 97,99.

6.On September 27,2006, the United States Court of Appeals for the Third Circuit affirmed Petitioner's conviction and sentence.
See; 2:03-cr-249 (E.D. Pa.) ECF nos.97 99.

7.On March 26, 2007, The Supreme Court of The "United States Court, denied petitioner's petition for Writ of Certiorari Wadley
v. United States, 549 U.s. 1318, 127 s. ct. 1894 (Mar. 26, 2007).

8.On April 22, 2008, Petitioner filed his first motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. 2255 in the
United States District Court for the Eastern District of Pennsylvania. See 2:03-cr-249 (E.D. Pa.) ECF No. 103.

9.0n October 21, 2008, Petitioner's first 2255 motion was denied by final order. See 2:03-cr-249 (E.D Pa.) ECF No. 107.
Petitioner attempted to appeal the denial of his first 2255 motion, but a certificate of appealability was not issued. See 2:03-cr-
244(E.D. Pa.) ECF Nos, 108,111,113.

40.On December 24,2013, Petitioner filed his second motion to vacate, set aside or correct sentence pursuant to 2255 motion
in the United States District Court for The Eastern District of Pennsylvania. See 2:03-cr-249(E.D. Pa.) No. 130. On January
44,2014, Petitioner's second 2255 motion was denied by final order. See; 2:03-cr-249(E.D. Pa.) No. 131.

41.On June 29,2016, Petitioner, with the assistance of counsel filed his third motion to vacate, Set aside, or Correct sentence
pursuant to 2255 motion. See 2:03-cr-249 (E.D. Pa.} ECF No. 143. Petitioner alleged that his career offender sentence should

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be vacated pursuant to Johnson v. United States, 135 S. Ct. 2552 (2015). On August 26,2017. Petitioner's third 2255 motion
was dismissed upon petitioner's voluntary notice of withdrawl. See; 2:03-cr-249 (E.D. Pa.} ECF No. 146.

LEGAL STANDARD

The compassionate release statute permits the district Court to reduce a defendants sentence after considering the factors set
forth in section 18 U.S.C. 3553 (a) to the extent that they are applicable, if it finds that... extraordinary and compelling reasons
warrant such a reduction and that the reduction is consistent with applicable policy statements issued by the sentencing
Commission. "18 U.S.C. 3582 {c)(1)(A) The First Step Act signifcantly expanded access to compassionate release under 18
U.S.C 3582 (c)(1)(A). Extraordinary and compelling reasons, exist where the length of the sentence being served is
disproportionate and essentially different from the sentences that congress now deem appropriate today by the way of The First
Step Act. See United States v. Mccoy, No. 20-6821, 2020 WL 7050097 (4th cir. Dec 2, 2020) Also see United States v Clausen,
2020 U.S. dist. Lexis 131070, 2020 WL 4260795 (E.D. Pa. July 24, 2020).

ARGUMENT

4. THERE EXIST EXTRAORDINARY AND COMPELLING REASONS FOR COMPASSIONATE RELIEF. PRIMARILY BECAUSE
OF THE DISPARITY BETWEEN PETITIONER'S 924(C) SENTENCES AND WHAT CONGRESS NOW DEEM APPROPRIATE.

Congress has spoken by way of The First Step Act eradicating the old belief that two or more 924(c) convictions in one
indictment support a 25 year enhancement for each, although neither can be deemed a conviction. Many district Courts, and
circuit courts of Appeal have recognized and interpreted this eradication as extraordinary and compelling reasons for
compassionate release by means of 18 U.S.C. 3582 (c)(1)(A) in accordance with USSG 1B1.13, Application note 1(0) OTHER
REASONS... The Courts have reconciled between the seemingly contradictory language present in the two authorities (18 3582
(c)(1)(A) and USSG 1B1,13). See; United States v. Zullo, 19-3218-cr (2nd cir. 2019); United States v. Mccoy, No. 20-6821 (4th
cir. Dec 2, 2020). See also District Court decision in United States v. Urkevich, No. 8:03-cr 37, 2019WL 6037391(D Neb. Nov
14, 2019).

In applying the, “extraordinary and compelling reasons" Standard, many of these courts have appropriately considered two
distinct features of a defendant's 924(c) sentences. First, is the sheer and unusal length of the sentences. Secound, these
courts are considering the "gross disparity" between the old sentences and the sentences congress now believes to be an
appropriate penalty for the defendant's conduct. See United States. v Adeyem, 2020 U.S. dist. LEXIS 117743,2020 WL
3642478 (E.D. Pa. July 6, 2020)

 
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FROM: 57447066

TO:

SUBJECT: motion 2

DATE: 04/07/2021 07:12:28 AM

Today, petitoner's sentence would be dramatically shorter in most cases by atleast 30 years. He is now serving a 622 month
sentence in part, 30 years coming by way of stacked 924(c)s and 22 consecutive years for a career offender designation (which
also is no longer valid a issue that will be discussed also in this motion). The Appeals Court in Mccoy concluded that for a
district court to consider the First Step Act's declaration of the appropriate level of punishment under 924(c), it should assess
each defendants case on an individualized basis for compassionate release. The Court made note of the fact that there could
be no error in reliance upon the length of a defendants sentence because of the dramatic degree to which they exceed what
congress now deems appropriate. The stacking error that now bounds petitioner to prison for an excess of 20 years is a
cricumstance which could not have been reasonably foreseen by the court at the time of the original sentencing because it was
the law. Currently petitioner has served approximately 18 years, a number that would afford him immediate release based upon
the current statutory law (5 years for the first 924(c) and 5 years for the second 924(c), consecutive to the career offender
designation a sentence which is also no longer applicable under the law today as will be'discussed later)

Because of the disparity of petitioner's sentence, and those sentenced for similar crimes after the passage of the First Step Act,
along with his rehabilitation efforts this court should find extraordinary and compelling circumstances which form the basis for
relief, Time served is "Sufficient, but not greater than necessary" to comply with the sentencing purposes set forth in 3553(a).
Therefore, petitioner asks that this court vacate his sentence and resentence him to time serve

2 PETITIONER'S CAREER OFFENDER DESIGNATION IS NO LONGER LEGITIMATE ON ACCOUNT OF THE SUPREME
COURT DECISION IN MATHIS V. UNITED STATES AND THE SENTENCING COMMISSIONS REMOVAL OF BURGLARY
FROM THE LIST OF CRIMES THAT LEADS TO A CAREER OFFENDER DESIGNATION

In Mathis v. United States, 136 S. Ct. 2243, 195 L.ED.2d 604 (2016), The Supreme Court explained that a "Divisble" statute is
one which lists efements in the alternative, thereby defining multiple crimes. By contrast, a statue is not divisibie when it defines
a single crime but lists"various factual means" by which one element may be shown.ID at 2249-50. The key to distinguishing
"means" from "elements" lies in what jurors must find unanimously to convict. See Descamps, 133 S.CT, at 2288. If a particular
fact or circumstance must be found unanimously, it is an element, but if not, if is merely one means of committing a single,
indivisible offense. See Id: Mathis 136 S. ct. at 224,-2250; Carlos change-Cruz v. Attorney Gen. 659 F. Appx 114, 117 (3d cir.
2016) (unpublished)(The court must find whether the listed items are alternatives elements, which must be unanimously found
by a jury sustain a convition, or instead are alternative means that a jury need not unanimously find.) (internal citations and
quotations omitted); United States v. Brown, 765 F.3d 185, 190-91 (3d cir, 2014} (an element is something the jury must
unanimously agree on); United States v. Hinkle, 832 F.3d 569,575 (5th Cir.2016)("When a jury is not required to agree on the
way that a particular requirement of an offense is met, the way of satisfying that requirement is a means of committing an
offense not an element of the offense").

In the ordinary case of identifying whether a prior conviction fits the 4B1.2(a)(1) definition, a court simply asks whether the state
crime has the use or threat of physical force [ against the person of another] as an element of the offense. Graves, 2016 U.S.
Dist Lexis 141008, 2016 WL 5934206. *4(Citing Brown, 765 F.3d at 189; U.S. v Remoi , 404 F.3d 789, 794 (3d cir. 2005)). Quite
recently in Steiner, the U.S. Supreme Court remanded a case to the Third Circuit to determine if the defendant's 1993 burglary
conviction was categorically a crime of violence based on Mathis. The Steiner Court established from it's analysis that because
there are alternative means to committing the core burglary element of the Pennsylvania statute, The statute is not divisible,

and after Mathis a categorical approach rather than a modified categorical approach must be used. Under the categorical
approach, a conviction for burglary under the Pennsylvania statute in question is not a predicate crime of violence, by means of,
United States Sentencing Guidelines Manual 4b1.2

The Pennsylvania statute defined burglary as entering a building or occupied structure, or seperately secured or occupied
portion there of with intent to commit a crime therein, unless the premises are at the time open to the public or the actor is
licensed or privileged to enter. in 18 Pa. Con. Stat. 3502(A)(1992), "Occupied Structure,” as addressed in one section meant
any structure, vechicle or place adapted for overnight accommodation of person, or for carrying on business therein. Whether or
not a person is actually present 18 Pa. Cons. stat 3501 (1992), United States v. Steiner, 847 F.3d 102 (December 30,2016). So,
based upon the categorical approach the Pennsylvania Burglary statute is overly broad and doesn't qualify as a crime of
violence for the purpose of a career offender designation. This is so depite the fact that Beckles upheld the vitality of the
U_§.S.G defintion of Career Offender.Petitioner observes the fact that the Third Circuit does not recognize burglary convictions
under Pennsylvania Law as predicate offenses for determining career offender status. See; United States V. Steiner, 847 F.3d
103, 120 (3d. cir 2017). Furthermore, the sentencing Commission has removed residential burglary from the list of crimes that
lead to a career offender designation. See USSG 4b1.2(a}(2),app. C. amend 798(2016) Today, the predicate conviction would

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not be considered a crime of violence under U.S.S.C 4b1.1(a) See; United States v. Al-Muwwakki_F.3d-,2020 U.S. App. LEXIS
40258, 2020 WL 7635764 at 9-11 (4th Cir, Dec 23,2020)(Finding defendants burglary conviction does not qualify as a violent
felony under Arm Career Criminal). See also United States V. Runyon,_F.3d_2020 U.S. App. LEXIS 40259, 2020 WL 7635761
(4th Cir Dec 23, 2020)(analyzing crimes of violence under 924(c)(3)}

Without the Career offender designation Petitioner's 262 month Sentence (counts 3,4,5,7,8,10, and 11) would decrease
significantly. There are two scenarios to look at. First, depending on the aggregate number of Firearms petitioner's base offense
level would be 22 because now there would be only one conviction for a crime of violence. He would be placed in criminal
history category IV, two offenses categorized by 4A1.1(b), one categorized by 4A1.1(A)(a robbery conviction that petitioner
preserves the right to challenge as a offense also categorized by 4A1.1(b) and not a crime of violence) and an additional two
points because the offense was committed less than two years after his release from state custody (petitioner would also
challenge this enhancement by way of United States v. Alleyne). This would amount to 8 points and petitioner would face a
sentence of 63-78. Pursuant to 2k2.1(b)(5), Specific offense characteristic, 4 levels could be added (in which petitioner would
also challenge) totaling an offense level of 26 and a criminal history category of IV rending a sentence of 92-115. This is the
worst case scenario, The second, proper principled scenario would disqualify any base offense level determine based upon a
firearm conviction because of the supreme courts decision in United States v. Rehaif, 139 §.Ct. 2191, 2194, 2200(2019), which
held that the knowledge element of section 924(a)(2) required the government to show that the defendant knew not only that he
possessed 4 firearm,but that he also belonged to the revelant category of people barred from possession one, Petitioner went
to trial and had a constitional right to be informed in the indictment of the elements of each offense he needed to defend
against. His indictment did not inform him of the status element of section 924(a)(2), nor was the jurors instructed to find this
element. Therefore, any sentence established upon a conviction for 922(g) and 924(a)(2) are void. That leaves a sentence
based upon petitioner's 18.U.S.C 841(a);(B)(1)(C) conviction of .664 milligrams of “crack” that would start at an offense level of
12, with a criminal history category of IV, qualifying him for a sentence of 21-27 months. In either scenario when combined with
the two consecutive 5 year sentences for 924(c)(1) petitioner would face no more than 235 (115 for counts 3,4,5,7,8,10 and 11,
five years for conunt 6 and 5 years for count 9) months, a sentence that would make petitioner eligible for immediate release.
For that reason, petitioner asks that this court vacate his sentence and resentence him to immediate release.

3. THE HIGH PROBABILITY THAT CONGRESS INTENDED RELIEF FOR LOW LEVEL DRUG OFFENDERS SUCH AS
PETITIONER WARRANTS A SENTENCE REDUCTION. ESPECIALLY WHERE THE LOW LEVEL DRUG CONVICTION IS
THE FOUNDATION FOR 3 MANDATORY SENTENCING ENHANCEMENTS RESULTING IN A SENTENCE 15 YEARS
LONGER THAN IT WOULD BE TODAY

Section 404 of the First Step Act offers defendants convicted under 841 prior to enactment of The Fair Sentencing Act a chance
to seek a retroactive reduced sentence. Nonetheless, Jurist of reason disagree as to whether 841(b)(1}(c) qualifies as a
“Covered Offense". The First Circuit in United States v. Smith 954 F. 3d 446; 2020 U.S. App. LEX!S 11048, Joined by The
Fourth Circuit in United States v. Woodson, 962 F.3d 812.,816-17 (4th Cir. 2020) and the Seventh Circuit in United States v.
Hogsett, No.19-3465 (7th Cir. Dec 7,2020) all deem ita "Covered Offense" under the First Step Act, while the Third Circuit
concludes that its not; See United States v Britt. However, The senators who wrote The First Step Act of 2018 have told the
Supreme Court (In Terry V. United States, now pending on SCOTUS docket) That some lower courts are misreading it and that
they did not intend to exclude low-level crack offenders from laws sentencing relief, contrary to the findings of some circuit
courts across the country. The four senators who are largely responsible for the sentencing reforms in the First Step Act nave
filed an amicus brief in the high court supporting Terry's case. Senators Richard Durbin, D-Iii., Charles E. Grassly, R-lowa, Cory
Booker, D-N.J., and Mike Lee, R-Utah, told the justices that those provisions were instrumental to the law's passage and that
congress had always meant to extend that relief to those convicted of small quantity offences. Also, President Joe Biden's
acting solicitor general has changed the government's position in the Terry Case to extend sentencing relief to low-level crack
offenses, even if such changes are rare in criminal cases (reported in a new law 360 piece).

In the present case petitioner was charge and convicted of 841(b)(1)(c) for .664 milligrams of "crack" cocaine, a remarkably
small amount that stands as the determining starting point for three sentencing enhancement (see PSI}. The first enhancement
school zone stretched petitioner's statutory maximum from 20 years to 40 years. The second enhancement, Career Offender
designation changed petitioner's sentencing range from 77 to 96 months to 262-327 months. At this point it is important to note
that, the sentencing court relied on the firearms guideline range [2k2.1] to establish the base offense level instead of the crack
guideline range which is susceptible to the Career Offender enhancement. A deperature for a Career Offender designation
should have begun from the crack cocaine guideline range in 2D1.1, if the objective was to use the 841(b)(1){c) convicion for a
Career Offender enhancement. This is because 4B1.1 dictates that the instant offense be a "Drug Trafficking Crime" or "Crimes
of Violence". 18 U.S.C. 922(G), the offense for which 2k2,.1 applies is neither (Drug Trafficking crime or Crime of Violence). IF
the process would have begun at the appropriate guideline range of 2D1.1 the eggregious overrepresentation of petitioner's
sentence would be plain and obvious, .664 milligrams of crack cocaine mandates a base offense level of 12, even under the ofd
dragonian 100 to 1 crack cocaine, powder drug ratio.

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TRULINCS 57447066 - WADLEY, LODISE - Unit: GIL-B-C

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FROM: 57447066

TO:

SUBJECT: mation 3

DATE: 04/07/2021 07:21:50 AM

The Third enhancement based upon the (.664) 841(b)(1)(c) conviction is the consecutive 5 year sentence for a 924(c){1)
conviction. It is most unlikely that congress intended to deny sentencing relief to a defendant guilty of distributing such a small
quantity of crack cocaine while allowing relief for those defendants guilty of distributing much larger amounts. Especially, when
this smail amount is the BEDROCK for three enhanced sentences. Petitioner declares that the government would be hard press
to find one case since the passage of The First Step Act where a defendant was even charged with such a dimunitive amount,
let alone coupled with three enhanced sentences. The Smith court explained, the change in 841(b)(1}(c)'s upper bound is no
small point, even for defendants guilty of distributing LESS THAN FIVE GRAMS of crack, because the staturoy benchmarks
likely have an anchoring effect on a sentencing judge's decision making. CF. Dorsey, 567 U.S. at 267-69 (explaining how the
base-offense-level quantities under U.S.S.G 2D1.1 (c) are keyed to the statutory quantities in 841(b)). Petitioner's violation, in
this context, looks less insignificant and thus less worth of as long of a sentence under 841 as the statute exists now than as it
did at the time of his sentencing. Under the old version of 841, 1.69 grams of crack was 34% of a quantity mandating a five year
minimum. Now it is only 6% of that threshold. Id. Smith v. United States, at 446. This means that .664 milligrams would be an
even lesser percentage. Hypothetically, an amount now unchargable post-First Step Act. This unique circumstance
compounded with the harsh stacking of the 924(c)'s, inwhich neither was a prior conviction at the time of arrest, the
disqualification of a burglary conviction that is now deemed non-violent, all amounts to cumulative collateral damage reaching
the level of extraordinary and compelling reasons worthy of a sentence reduction under 18 U.S.C 3583(c)(1}(A). Thereforce,
petitioner asks that he be resentenced to immediate release or whatever the court deems sufficient.

4.THE UNITED STATES SUPREME COURTS DECISION IN REHAIF DISQUALIFIES PETITIONER'S 18 U.S.C. 922(G)
CONVICTION LENDING ACCUMULATIVE MOMENTUM TO THE EXTRAORDINARY AND COMPELLING REASON FOR
COMPASSIONATE RELEASE

The United States Supreme Courts decision in United States v. Rehaif, 139 S. Ct. 2194, 2191, 2200 (2019) announced a new
rule that, narrowed the scope of the criminal statutes 922(G)(1) and 924(a){2) by limiting their reach to people who know af the
time they possess a gun, the information that makes such possession unlawful. Meaning that the government has the burden of
proving that the defendant knew he belonged to a certain category of people banned from possessing firearms.

The Rehaif decision elucidates two types of errors in petitioner's case. Procedural errors in violation of the constitution and
substantial errors in violation of fundamental principles of law. As for the procedural error, petitioner proceeded to trial, therefore
the constitution guarantee's safegaurds essential to the protection of certain rights. Specifically, the fifth and sixth Amendment.
These rights must be protected at every stage of a criminal proceeding. The fifth Amendment requires a grand-jury indictment
for infamous crimes (U.S. Const. Amend. 5) and the sixth amendment insists upon notice to the defendant of the "Nature and
cause of the accusation", [U.S. Const. Amend. 6]. Petitioner's indictment was devoid of the status element, nor did the
government present any evidence at trial for knowledge of status, and finally the juror's were not instructed that they had to find
this element to convict, the jurors were actually told that they did not have to find this element. In accordance with these
guarantees, The Supreme Court has instructed that an indictment must contain all the elements of the charged offense to
ensure that a grand jury found them present and to "Fairly inform a defendant of the charge against which he must defend" as
well as, "enable him to plead an acquittal or conviction in bar of future prosecutions for the same offense. Alleyne v. United
States 570 U.S. 99, 133 S. Ct. 2151, 2160 186 |. Ed. 2d. 314 (2013); Hamling v. United States, 418 U.S. 87, 117, 94, S. Ct
2887, 41 L. Ed. 2d 590 (1974); See also Russell v. United States, 369 U.S. 749, 768-70, 82 S. Ct. 1038, 8 L.Ed. 2d. 240 (1962).

in other words, an indictment is only facially sufficient if it (1) contains the elements of the offense intended to be charged (2)
sufficiently appraises the defendant of what he must be prepared to meet, and (3) allows the defendant to show with accuracy
to what extent he may plead a former acquittal or conviction in the event of a subsequent prosecution. United States v. Huet,
665 F. 3d 588, 595 (3rd cir. 2012). It is well established that, " a defendant may contend that an indictment is insufficient on the
basis that it does not satisfy the first requirement in that it fails to charge an essential element of the crime”. United States v.
Stock, 728 F.3d 287,292 (3rd. Cir. 2013). Petitioner's indictment failed to charge the status element therefore the convictions of
count seven and ten are void.

2. SUBSTANTIVE COMPONENT
In Montgomery v. Louisiana, no. 14-230 (Jan 25,2016), The Supreme Court establishes that a procedural and substantive
component may exist in a given, new constitutional holding. More important, the Court stated : " A conviction and sentence
imposed in violation of a substantive rule is not just erroneous but contrary to law and as a result, void. It follows, as a general
principle, that a court has no authority to leave in place a conviction or sentence that violates a substantive rule, regardless of

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Case 2:03-cr-00249-JLS Document 149 Filed 04/13/21 Page 7 of 71

TRULINCS 57447066 - WADLEY, LODISE - Unit: GIL-B-C

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whether the conviction or sentence became final before the law was held unconstitutional. There is no grand father clause that
permits states to enforce punishment the constitution forbids, to conclude otherwise would undercut the constitution's
substantive guarantee so, a new rule is substantive when it narrows the scope of a criminal statute, rendering non-criminai the
conduct of which a person was convicted. The Rehaif ruling narrowed the scope of 18 U.S.C. 922(G)(1) and 924(a)(2), as a
result rendered petitioner's conduct non-criminal.

B. REHAIF'S RULING IS WHAT 922(G)& 924(A)(2) HAVE ALWAYS MEANT

On account of the fact that the ruling in Rehaif is what 922(G)& 924(a}(2) has always meant, it stands as the authoritative view
for dealing with past decisions that are contrary to it. See; Rivers v. Roundway exp. Inc., 511 U.S. 298, 313 n.12 (1994), See
also id. ("when this court construes a statute, it is explaining its understanding of what the statute has meant continously since
the date when it became law. Thus, it is not accurate to say that the court's decision in [Rehaif] ‘changed! the law... rather, given
the structure of our judicial system the [Rehaif] opinon finally decided what [922(G)&924(a)(2)] had always meant and explained
why the Court of Appeal had misinterpreted the will of the enacting congress.") id. at 312-13 ("A judicial construction of a statute
is an authoritative statement of what the statute means before as well as after the decision of the case giving rise to that
construction.”). For that reason, the Rehaif ruling is commanding, true, and a fundamental legal decision that affords a
defendant such as petitioner the opportunity to have his 922(G)&924(a)(2) charges vacated (counts 7 and 10) and remanded.
in United States V. Malik Nasir, 982 f.3d144 (3rd Cir. Dec 1, 2020 En Banc), The Third Circuit En Banc concluded that proving
that a felon knew he possessed a gun remains necessary but is no longer sufficient for a conviction. Proof of knowledge of
status is now essential. This Rehaif issue lends credence to the unique circumstances of accumulative errors that reaches the
objectionable level for compassionate release based upon extraordinary and compelling reasons. Therefore, petitioner asks
that his motion be granted and that his sentence be reduced to immediate release.

5. A REDUCTION IN PETITIONER'S SENTENCE WOULD BE CONSISTENT WITH THE FACTORS SET FORTH IN 18 U.S.C.
3553 (A) AND HE [S NOT A DANGER TO THE SAFETY OF ANY OTHER PERSON OR TO THE COMMUNITY

With respect to 3553(a) factors, petitioner argues that the Covid-19 pandemic has subject him to a more punitive sentence than
need be. As inmates like himself faces “Lock down conditions, cold meals, and drastically reduced recreational time,
programming, and employment and educational opportunities, all ongoing until this day. As part of the 3553(a) analysis, many
judges in this district as well as others have considered a change in the penalties that a defendant would face if prosecutred
today. For instance, Judge Bennett, a district Judge sitting for a district court in the Fourth Circuit explained: "Change in the
sentencing law landscape are relevant to the courts analysis of whether the court's sentence appropriately address the need for
a sentence to provide just punishment, promote respect for the law, reflect the seriousness of the offence, deter crime, and
protect the public." United States v. Johnson, No. RDB-07-0153, ECF No.183 at 10-11, 2020 U.S. Dist. LEXIS 190921 (D. md
Oct 14, 2020); see also Mccoy, 2020 U.S. app. LEXIS 37661, 2020 WL 7050097 at *11 ( concluding with respect for a motion
for Compassionate release, that a court may consider the impact of a legislative changes in sentencing under 18 U.S.C. 924(c)
evn if the sentence would not be reduced pursuant to a retroactive application of the amended 924(c)).

Further, Petition argues, that his sentence is not only out of step with current crack cocaine drug laws, 924({c) stacking, Rehaif,
The Career Criminal requirements but also, The National and District-wide trends for defendants, who, unlike petitioner were
convicted of murder. See United States v. Bryant, 95-202-cc-3-2020 U.S. Dist. LEXIS 75681, 2020 WL 2085471 at *5, n.8 (D
Md Apr. 30,2020)(According to statistics released by the United States Sentencing Commission for fiscal year 2018, the
national average sentence for murder was 291 months)(citing Redd 444 F. Supp. 3d 717,728 (E.D. VA. 2020).

A. REHABILATION

Evidence of post-sentence rehabilitation is likely the most critical of core considerations for the court in a 3582(c) proceeding. In
Pepper v. United States, 562 U.S. 476, 131 S. Ct. 1229, 1241, 179 L. Ed. 2d 196 (2011), the court emphasized the important
nature of Post Sentence Rehabilitation, stating: "there would seem to be no better evidence than a defendants post
incarceration conduct.” Id, Indeed, the court continued---" post sentence rehabilitation may also critically inform a sentencing
judge's overarching duty under 3553(a) to "impose a sentence sufficient, but not greater than necessary to comply with the
sentencing puposes set forth in 3553(a)" Id. at 1242

Petitioner's rehabilitation efforts have been constant and efficient despite the praticaily life sentence he is serving. He has
completed the Challenge Program with gocd reviews and evaluations from the Doctor and treatment specialist. He has
completed the Faith based Threshold program held by religious services. He has also completed programs such as, Anger
Management, Stop the Violence, Positive and Negative Awareness Group, Victim impact Group, The Choice & Change Drug
Education program and many more. Despite that, Petitioner has also completed career driven and opportunity positioning
achivenments, such as, attainment of diploma's in both Criminal Law and as a paralegal, awarded by BlackStone Career

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TRULINCS 57447066 - WADLEY, LODISE - Unit: GIL-B-C

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Institute, Software Specialty Training awarded by Mountain Empire Community College in Virginia. Petitioner has vocational
training in three different areas : Custodial Maintenance from TPC training systems, Major Appliance Repairs, and a Universal
Certification for handling refrigerants as required by ESCO Institute and other H-Vac certificates. Most important, petitioner is
currently enrolled at Glenville State College here at Gilmer FCI. At this point, petitioner has a total of 66 combined (40
transferred) credits on course to obtaining a bachelor degree in Business.

 
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TRULINCS 57447066 - WADLEY, LODISE - Unit: GIL-B-C

FROM: 57447066

TO:

SUBJECT: motion 4

DATE: 04/07/2021 07:22:29 AM

Based upon the particular circumstance in this case, the court should conclude that the time which petitioner has aiready
served is sufficient to satisfy the purposes of sentencing. The overriding factor's under 3553{a) that were not present at the time
of sentencing are the disparties between the sentences petitioner received in contrast to the sentences for the same crimes that
a defendant in petitioner's situation would receive today and what congress now deems unwarranted. Petitioner's rehabilitation
in prison combined with the other factors and circumstances surrounding the changes in laws for which petitioner was convicted
all suggest that he poses no risk to public safety upon release. Petitioner has no violence in his case, has not had an instituional
infraction in over 9 years. Maintains steady employment while in prison, has consistantly paid down his FRP payment, have a
loving family eager, willing, and ready to help him make a successful transition back into society. Therefore, Petitioner asks that
his motion be granted and that he receive immediate release.

CONCLUSION

The sentence petitioner serves today is grossly disproportionate to what congress, The Sentencing Commission, and the newly
expressed Supreme Court decisions deem appropriate to promote Fairness, Justice and respect for our Judicial system. The
combination of five factors cumulatively provides a persuasive argument for extraordinary and compelling reasons for
compassionate relief. Petitioner serves a sentence today that many jurist deemed unwarranted even under the old laws. The
need to avoid unwarranted sentencing disparties is a main concern of our judicial system. Today, many other simitarly situated
defendants are receiving reduce sentences pursuant to the changes made by the First Step Act. Based upon what proceeds
petitioner asks this court to vacate his sentence and resentence him to time serve or whatever this court deems appropriate
and/ or appointment of counsel if it is deemed neccesary.

Sincerely Submitted,

Loli. buat Lig? |

LODISE WADLEY 57447-066
Pro Se , FCI Giimer

P.O. Box 6000

Glenville, WV 26351

CERTIFICATE OF SERVICE
| Hereby certify that on 1 @ 204 | send the forgoing Motion pursuant to 18 U.S.C 3582(c)(1)(A), by the United
States Postal Service to the Clerk of Court for the Eastern District of Pennsylvania, Under the prison mail-box rule, a motion or
petition is deemed filed on the date that itis handed to prison authorities for mailing. See, Houston v. Lack, 487 U.S, 266, 276,
108 S. Ct. 2379, 101 L. Ed. 2d 245 (1988).

Clerk of Court for :

U.S. District Court

Eastern District of Pennsylvania
601 Market St. Room 2609
Phila, Pa. 19106-1729

By A, WA hugh j L,

LODISE were 57447-066
Pro se, FCI Gilmer

P.O. Box 6000

Glenville, WV 26351

 

 

 
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CERTIFICATES AND DIPLOMAS

 
. Case 2:03-cr-00249-JLS BY Filed 04/13/21 Page 12 of 71

BLACKSTONE CAREER INSTITUTE
101] Brooxsipe Roap, Sure 300, P.O, Box 3717, ALLENTOWN, PA 18106-3717

January 13, 2015

Lodise Wadley 57447-066
U.S.P. Big Sandy

PO Box 2068

Inez KY 41224

Dear Lodise:

CONGRATULATIONS! All of us at Blackstone Career Institute are proud to count you among our
graduates. We are pleased we could be part of your education and hope your time with us so far has
been rewarding. You certainly should be proud of your accomplishment.

As the Director, I know that you have worked hard and made some personal sacrifices to complete this
course. It indicates to me that you are committed to your studies and realize the role educational training

can play in attaining your goals.

Our staff is genuinely interested jn our students’ success. We appreciate when a graduate writes to let us
know they are utilizing their educational training while working in their chosen profession. As part of
our continuing efforts to enhance the standing of Blackstone Career Institute as an important resource

for quality education, we seek your insight into how we can improve our course. If you have not
completed the Student Satisfaction Survey I would encourage you to do so.

Included in your graduation packet you should find your certificate for the Blackstone Career Institute
program completed along with your official school transcript.

Most of our graduates continue their quest for knowledge as life long learners by taking additional
courses from Blackstone. Please see the enclosed offer outlining these courses and the special discount

only for our graduates!

Again, congratulations on your completion and best wishes in all your future endeavors.
Sincerely, |

Kevin J McCloskey

Director

 

21S Phone: 610-871-0031 » 800-826-9228 « Bax: 610-871-0034

A Direct Learning Systems Schoot email: info@blackstone.edu * www. blackstone.edu

 
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BLACKSTONE CAREER INSTITUTE
JO1f Baooxsioe Roan, Surrey 300, P.O. Box 3717, AvLenrown, PA 18106-3717

Student Transcript
31 Lesson Paralegal Studies Certificate Program
$15 Clock Hours

" Lodise Wadley 57447-066

Student Number; 08028960

 

Student:
Address: U.S.P. Big Sandy :
PO Box 2068 Enrollment Date: 07/23/2013
Inez KY 41224 © Completion Date: 07/01/2014
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Lesson: 1 Lesson: 7
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Lesson: 6
« Pleadings in Civil Action Part I

+ Pleadings in Civil Action Part
+ Practice in Civil Actions
» Criminal Procedure

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Lesson: 7
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01/24/2014 95

* Wills Part II

« Law of Private Corporations
« Law of Partnerships Part I
«. Law of Partnerships Part 1

Lesson: 9

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« Constitutional Law Part 10

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« Legal Research Part 1

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« Legal Research Part Il

Lesson: . 13
+ Employability Skills

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« Ethics

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06/30/2014 160

06/30/2014 100

 

 

Student Average: 98.54%  ** FINAL **

This Document Issued: 07/01/2014
Blackstone Career [ustitute

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/ Registrar

B.S. MEd.

 

 

 

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A Direct Learning Systams School =

Phone: 610-87 31 * 800-826-9228 » Pax: 610-871-0034
email: inro@btackstone.edu * www.blackstone.cdu

 
 

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Lodise Wadley

for completing all the requirements of th e
CHALLENGE PROGRAM

FCC Coleman - U.S.P. I, Florida
Completed February 13, 2019

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» Virginia's

Commaunity Colleges

ee CERTIFICATE OF COMPLETION -
BUSC 1595
Software Specialty Training

This is to certify that et

LODISE WADLEY °-

has completed Ce, ne —
The Software Specialty Training Program BS a eee
an approved Continuing Education Unit (CEU} Program | , ee
_ sponsored by the Center for Workforce Development
‘at Mountain Empire Community College.

Sige ee Wii pdbiuend

Lance Colk, USP Lee/Director of Education... Mitzi Williams, MECC/W orkforce Development 4

 

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Completion Date: . August 26, 2010
Hours Completed: 96 hours _
CEUs Awarded: 9.0

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Case 2:03-cr-00249-JLS Document 149 Filed 04/13/21 Page 18 of 71

 

TPC Training Systems

Upon the recommendation of

FCC Coleman U.S.P. 1

Vocational Training
Lodise Wadley
is awarded this
Certificate

for successfully completing the
prescribed course of study in

Custodial Maintenance

Awarded this twentieth day of January
Two thousand and seventeen

‘A Nise

FCC Coleman U.S.P. 7

 

 

 

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to proclaim:

LODISE WADLEY
57447-066

has successfully completed the
Choice @ Change Drug Education Program
at USP Lee, Virginia

 

M. Williams, M.A.
Drug Treatment Specialist

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C471 3/21 Page 2

 

 

 

 

 

M. HAMIL

Certificate of Completion

This certifies that

LODISE WADLEY
Register #: 57447-0066

has successfully completed

STOP THE VIOLENCE PROGRAM

at USP Big Sandy

OCTOBER 08 ,2014

— VBE

 

 

 

 

 

 

   

 

 

 

 

TON, S£VP COUNSELOR

 
 

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UNITED STATES PENITENTIARY BIG
SANDY, INEZ, KENTUCKY

THIS CERTIFIES THAT

Ladise Wadley

has successfully completed the required course of study for the
Victim Impact Group

Given this 05 day of November, 2014

 

Unit Counselor Associate Warden of Pro

 

 
 

 

Case.2:03-cr-00249-JLS Document 149 Filed 04/13/21 Page 23 of 71

: Seores:

Cesco INStOUGE PO Box 521 ¢ Mount Prospect II » 60056 Core: 100% Type-I: 96% Type-Il: 98% Type-ill: 92%
Enclosed are the results of your EPA Section 608 Certification

examination. A passing score of 70% or greater is required in each Exam Participant: LODISE WADLEY !D#: 1063376490220
section. Additionally, you must pass the Core plus another section in

order to be issued a certification. The scores of your exam are listed

 

‘ : : " Certificate No.: 1063376490220
on the right and your certification card is attached,
LODISE WADLEY
Please visit our website at www.escogroup.org for additional training esco institute has successfully passed a
resources or contact us at 1-800-726-9696 with any questions! Program EPA , UNIVERSAL
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Mail to: FCI Gilmer refrigerants as required by EPA’s

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Glenville, WV, 26351

  

  

Raat Lett eta (800)726-9696

Visit waww-.escogroup.org to update your address or ta replace a lost card. Please maintain this document for = = —
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Case 2:03-cr-00249-JLS Document 149 Filed 04/13/21 Page 26 of 71

 

Commonwealth of Pennsylvania
Department of Education |

L recognition of having met requirements for high school
completion in accordance with the Act of the General Assembly. Number 212
approved May 15, 1945, this. diploma is conferred upon

LODISE WADLEY

 

02/27/97
Date Issued

; Given under the seal of the

, Department of Education
Commonwealth of Pennsylvania
gat Harrisburg

 

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| 3-cr-00249-JLS Document 149 Filed 04/13/21 Page 27 of 71

COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF EDUCATION
333 MARKET STREET
HARRISBURG, PA 17126-0333

 

LODISE | WADLEY ° .- DATE: 11/20/2015
GED ID (Last 4 Digits): 0041

“PO BOX 2068
INEZ KY 41224 DATE OF BIRTH: = 12/20/4974
DEARLODISE ,

The Following is an OFFICIAL TRANSCRIPT of your scores on the General Educational Development

(GED®) Test.

Test - _ Form :

     

. Subject

  
  
      

Standard Percentile Rank
Score for U.S

 

 

 

 

 

 

 

 
   
 
  
 

 

 

Test# 1 AT 42 92 - “Writing Skills
AT 50 - 55 Social Studies

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Science

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Total: 236 |
Standard Score Average: 47 Date of LastTest: 02/10/1997

STATUS: PASSED
Commonwealth Secondary School Diploma #0580011 issued on o2/27/1997.

The Commonwealth Secondary Schoo! Diplorna program required a minimum total score of 225, minimum
average score of 45, and no single test score less than 40. The best scores from each test are used to

determine eligibility for’a diploma.

DUPLICATE DIPLOMAS ARE NOT ISSUED-

If you have any questions, please direct thers.to:

COMMONWEALTH DIPLOMA PROGRAM
PENNSYLVANIA DEPARTMENT OF EDUCATION
333-MARKET STREET, 12th FLOOR
HARRISBURG, PA 47126-0333

TELEPHONE 717-7 87-5532

49
—
Testit 4 ‘AT 47 At Reading Skills | .
Test 5 AT | 48 - 36 Mathematics |

 
 

 

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Case 2:03

 

United States Penitentiary Lee County certifies that

—Lodise Wadley

has completed five or more Adult Continuing Education classes

within the last year and is hereby awarded this certificate.

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JLS Document 149 Filed 04/13/21 Page 28
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Given at USP Lee County, Virginia,
this 26th day of O&tober 2006.

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-cr-00249-

Case 2:03

 

This certificate is awarded to

Lodise Wadley

in recognition of completing training in Microsoft Office 2007, .
Computer Applications Program through Mountain Empire Community College.-

Given at USP Lee, Virginia, this 7th day of December 2010.

 

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Lance Calg, Supervisor of Education Hardy Chain(Mssociate Warden I&E) — C. Zych, Warden

 

 

 

 
 

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APPENDIX * 8

EVALUATION AND REPORTS FROM THE DOCTORS
AND TREATMENT SPECIALIST FROM THE
CHALLENGE PROGRAM

 
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Bureau of Prisons **SENSITIVE BUT UNCLASSIFIED*

Psychology Services
Challenge Program

 

 

inmate Name: WADLEY, LODISE Reg #: 57447-066

Date of Birth: 12/20/1974 Sex: M Race; BLACK Facility: COP

Open Date: 40/04/2016 Closed Date: Status: Active Discussed: Yes

PGI Title: Overall Progress
Status: Active Last Updated: 01/18/2019 Last Provider: Garcia-Hernandez, Ariel CTS
Problem: | have led a disordered lifestyle that has had a negative impact on many aspects of my life sc | have

volunteered to participate in this residential treatment program to help me address my specific problems.

Goal: Incorporate the principles and techniques of this treatment program to address my thinking errors and

modify my problematic behaviors.
Interventions: Full program participation as directed and reviewed by my clinical team due by 1/20/2019.

Progress Notes:

Understands concepts and demonstrates behavior(s} Date: 01/18/2019 Provider: Garcia-Hernandez, Ariel CTS
indicative of featment progress
inmate Wadley was interviewed today for his 60 Day Review. He is in the Transition Phase and currently in the
Transition Journal. This group review skills learned during the Challenge Program and how they may be used after
completion. Participants examine three key transitional issues, including working with authority figures, handling
social pressure, and reconnecting with family. Inmate has demonstrated an understanding and application of the
concepts/material. His behavior remains consistent with the Eight Attitudes of Change. He provides useful
feedback to others, models appropriate behavior, and serves as a positive role model. For example, Inmate Wadley
continues adhering to the Attitudes of Change as shown by continuing assisting his peers in RSA's and
memorization of Challenge definitions. He receives good work reports and the community sees him as a
responsible community member who is willing to be helpful all the time. Regarding his treatment goals, he has
improved in how he deals with disagreements, improved his communication skills, made realistic future plans, and
has learned how to keep his options open as a way of ensuring a drug-free lifestyle. Due by 3/21/2019.
Understands concepts-and demonstrates behavior(s) Date: 11/16/2018 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress
Inmate Wadley was interviewed today for his 60 Day Review. He is in the Transition Phase and currently in the —
Transition Journal. This group review skills learned during the Challenge Program and how they may be used after
completion. Participants examine three key transitional issues, including working with authority figures, handling
social pressure, and reconnecting with family. Inmate’ has demonstrated an understanding and application of the
concepts/material. His behavior remains consistent with the Eight Attitudes of Change. He is timely to
groups/meetings, he is polite, gets along well with his peers/staff, and is adhering well to the Eight Attitudes of
Change. He has not received any attitude checks, negative Teamings, disciplinary reports, or positive urinalysis
during this 60 day period He is scheduled to complete this program within the next month. Overall, his progress is
considered to be good: Due by 1/20/2019,
Understands concepts and demonstrates behavior(s) Date: 99/20/2018 Provider: Garcla-Hernandez, Ariel CTS
indicative of treatment progress
Inmate Wadley was interviewed today for his 60 Day Review. He is in the Transition Phase and currently in the
Recovery Maintenance Journal. He is scheduled to complete this program within the next month. This is likely his
last 60 Day Review. Inmate Wadley continues making good progress toward his treatment goals. He provides useful
feedback to others, models appropriate behavior, and serves as a positive role model. He continues helping others
understand the positive values in the context of their religion and assisting his peers in RSA‘s and memorization of
Challenge definitions. He has not received any incident reports, attitude checks, or positive urinalysis in the past 60
day period. He receives good work reports and the community sees him as a responsible community member who is
willing to be helpful all the time. He will be working on identifying obstacles to his continued success. Due by
11/21/2018.
Understands concepts and demonstrates behavior(s) | Date: 07/18/2018 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress
A 60-day. progress review was conducted on inmate Wadley. Inmate was.provided a copy of his Treatment Plan
Review to ensure that he is able to track his progress and will be advised of any additional treatment activities,
Inmate Wadley is in Phase tI currently in the Lifestyle Balance Journal. He continues making good progress toward
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_Inmate Name: WADLEY, LODISE Reg #: 57447-066
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facitity: COP
Open Date: 40/04/2016 Closed Date: Status: Active Discussed: Yes

 

his treatment goals. He provides useful feedback to others, models appropriate behavior, and serves as a positive
role model, He continues helping others understand the positive values in the context of their religion and assisting
his peers in RSA's and memorization of Challenge definitions. He has not received any incident reports, attitude
checks, or positive urinalysis in the past 60 day period, itis assessed he is working sincerely on his treatment
activities and learning Program information. Due to institutional disrupted schedule and to an extensive lockdown,
inmate will have additional time to work with the activities in this treatment plan. Overall, his current progress is

positive, Due by 9/21/2018.

Understands concepts and demonstrates behavior(s) Date: 05/17/2018 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress

Inmate Wadley was seen for his ninth 60 Day Review, Inmate was provided a copy of this treatment progress
review. He is in Phase Il! of the program and currently in the Lifestyte Balance Journal. He continues making
positive progress towards his treatment goals and has become an important and contributing member of the
treatment community. He provides useful feedback to others, models appropriate behavior, and serves as a positive
role model. He continues helping others understand the positive values in the context of their religion (Musiim), and
assisting his peers in RSA's and memorization of Challenge definitions. He has not received any incident reports,
attitude checks, or positive urinalysis in the past 60 day period. It is assessed he is working sincerely on his
treatment activities and learning Program information. Overall, his current progress is good. Due by 7/24/2018.

Understands concepts and demonstrates behavior(s) Date: 03/26/2018 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress

Inmate Wadley was seen for his ninth 60 Day Review. Inmate was provided a copy of this treatment progress
review. He is currently in the Phase Two in the Communication Skilis Journal. He continues making good progress
toward his treatment goals. He has demonstrated a solid adherence to the program's rules and traditions by the
following attitude willingness, humility, and caring by being timely, well dressed/groomed, and relating to others in
the program in a polite and congenial manner. He receives good work reports. He stated "| am proud of myself the
way | am practicing the Eight Positive Attitudes of Change in the treatment community. He continues helping others
understand the positive values in the context of their religion (Muslim), and assisting his peers in RSA's and
memorization of Challenge definitions. He has not received any incident reports, attitude checks, or positive
urinalysis in the past 60 day period. itis assessed he is working sincerely on his treatment activities and learning
Program information. Overall, his current progress is good. Due by 5/27/2018.

Understands concepts and demonstrates behavior(s) Date: 04/19/2018 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress

Inmate Wadley was seen for his eighth 60 Day Review. Inmate was provided a copy of this treatment progress
review. He is in Phase Two of the program and currently in the Violence Prevention Journal. He has been making
good progress toward his treatment goals. For example, he masters the RSAs, he has become a better listener and
more open-minded, he is more rational and is seeking different ways seeing situations less awfully, has no cravings
for drugs, and has been engaging in healthy/voluntary activities. He provides positive feedback and critical feedback
to others. He is timely, well-dressed, and affable. He has a good attitude by demonstrating willingness, caring, and
responsibility on a daily basis. On 11/29/2017 Inmate Wadley was teamed to be recognized for his positive program
progress and implementing the positive values into his every day behavior, Furthermore, he has been seen by staff
helping others understand the positive values in the context of their religion (Muslim). Per staff, inmate continues to
present as a positive role mode! in the unit and hag internalized many of the concepts of the program. He continues
participating in his process group, service group, seminars and community morning meetings. Inmate Wadley
continues adhering to the Attitudes of Change as shown by assisting his peers in RSA's and memorization of
Challenge definitions. He receives good work reports. Overall, his progress is good. Due by 3/28/2018.

Understands concepts and démonstrates behavior(s) Date: 14/20/2017 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress

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Inmate Wadley was seen for his seventh 60 Day Review. Inmate was provided a copy of this treatment progress _
review. He is in Phase Two of the program and currently in the Criminal Lifestyle Journal to ensure that he is able to
track his progress and will be advised of any additional treatment activities. Inmate continues participating in his
process group, service group, seminars and community morning meetings. Observations of him reveal that he
adheres to the Attitudes of Change on a daily basis by demonstrating responsibility, willingness, and caring. He is
timely to groups and participates regularly. He voluntarily participates in the community meeting by providing
feedback to others. He stated he is working on being humble and he demonstrates this daily by the gentle manner in

which he relates to others which does not include boastfulness. Inmate Wadley is working as a main corridor orderly
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Inmate Name: WADLEY, LODISE Reg #: 57447-0606
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 10/04/2016 Closed Date: Status: Active Discussed; Yes

 

his detail supervisor provided a favorable report on his work performance. He has not received any attitude checks,
negative teaming's, disciplinary reports, or positive urinalysis during this period. Overall, his current progress is good.
Due: This activity will be reevaluated by 1/27/2018.

Understands concepts and demonstrates behavior(s) Date: 09/18/2017 Provider: Garcia-Hernandez, Ariel CTS

indicative of treatment progress
inmate Wadley was seen for his fifth 60 Day Review. Inmate was provided with a copy of this treatment progress
review. He is currently in Phase II in the Reviewing My Drug Use Journal. inmate has demonstrated an
understanding and application of the concepts/materlal. He has been making good progress toward his treatment
goals. For example, he has learned to cope with insults and uncomfortable situations by using RSAs, he has
become a better listener, and more open-minded, he blames less and is seeking different ways seeing situations
less awtully, has no cravings for drugs, and has been engaging in healthy/voluntary activities. He provides positive
feedback and critical feedback to others. He has not received an attitude check, negative teaming, disciplinary
report, or positive urinalysis. Overall, his participation in the program is considered to be good. Due: by 11/28/2017.

Understands concepts and demonstrates behavior(s) Rate: 07/20/2017 Provider: Garcia-Hernandez, Ariel CTS

indicative of treatment progress
Inmate Wadley was seen for his fifth 60 Day Review. Inmate was provided a copy of this treatment progress review.
He is in Challenge Part status currently attending seminars, process group, and the Orientation Phase of the
treatment at the end of the Rational Thinking Journal. He maintains excellent behavior during phase and process
group meetings and volunteering to the News Letter Committee. During process groups, he has been opening up
more about his feelings. He is starting to understand the essence and the program language. He is an active
listener during the moming meetings; he accepts feedback from his peers and uses the feedback to curb his
negative thinking. He has not received attitude checks, incident reports, or positive urinalysis in this 60 days period.
Overall, he continues making good progress. Due to institutional disrupted schedule and to an extensive lockdown,
inmate will have additional time to work with the activities in his treatment plan. Due by 9/29/2017.

Understands concepts and demonstrates behavior(s) Date: 05/25/2017 Provider: Garcla-Hernandez, Ariel CTS

indicative of treatment progress
Inmate Wadley was seen for his third 60 Day Review, Inmate was provided a copy of this treatment progress review
to ensure that he is able to track his progress and be advised of any additional treatment activities. He is currently in
Phase | in the Rational Thinking Journal. He attends seminars, process groups, phase groups and service groups
on a weekly basis and the community morning meetings daily. He keeps his cell clean, and completes all relevant
homework assignments. He maintains excellent behavior during phase and process group meetings and
volunteering to the News Letter Committee. During process groups, he has been opening up more about his
feelings. He is starting to understand the essence and the program language. He is an active listener during the
morning meetings; he accepts feedback from his peers and uses the feedback to curb his negative thinking. He also
uses the feedback from his peers to help manage his criminal thoughts. Overall, inmate Wadley continues
progressing well. He has not received an attitude check, negative teaming, disciplinary report, or positive urinalysis
in the last 60 day period. Due by 7/31/2017.

Understands concepts and demonstrates behavior(s) Date: 03/28/2017 Provider: Garcia-Hernandez, Ariel CTS

indicative of treatment progress
Inmate Wadley was seen for his third 60 Day Review. Inmate was provided a copy of this treatment progress
review. He is in Challenge Part status currently attending morning meeting, seminars, and process group. He is
currently in the Orientation Phase of the Program, in the Orientation Journal. He interacts well with other inmates
and staff. In Seminars, Process Group, Service Groups, and Community Morning meetings his comments are polite
and helpful and demonstrate caring and a willingness to be responsible. He has been an active participant in the
treatment community and process group readily offering his comments in interactive groups and community
meetings and volunteering to the News Letter Committee. His has appropriate interacts with staff and his peers. He
has set goals and entered into a good relationship with peers and staff, He demonstrated responsibility and
willingness by becoming an active member of the community, Overall, inmate Wadley has a fair level of progress.
He has not received an attitude check, negative teaming, disciplinary report, or positive urinalysis in the last 60 day
period. Due by 6/1/2017.

Understands concepts and demonstrates behavior(s) Date: 01/31/2017 Provider: Garcia-Hernandez, Ariel CTS

indicative of treatment progress
Inmate Wadley was seen for his second 60 Day Review. Inmate was provided a copy of this treatment progress
review. He is in Challenge Part status currently attending morning meeting, seminars, and process group only. He

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Inmate Name: WADLEY, LODISE Reg #: 57447-066
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 10/04/2016 | Closed Date: Status: Active Discussed: Yes

 

is scheduled to begin the Orientation Phase of the treatment within two month. Inmate Wadley is assessed to be

- honestly working on his treatment goals. He has been honest in his struggles, such as responsibility and open-

minded. He has been an active participant in the treatment community and process group readily offering nis
comments in interactive groups and community meetings and volunteering to the News Letter Committee. He has
maintained clear conduct and all urinalysis tests have been negative, He interacts well with other inmates and staff.
In process group his comments are polite and helpful. His comments demonstrate caring and a willingness to be
responsible. Inmate-Wadley continues engaged in the treatment community and is well received by peers and staff.
He receives positive work reports. Overall, his progress thus far is deemed to be good. Due by 4/2/2017.

Displays conceptual understanding only Date: 11/30/2016 Provider: Garcia-Hemandez, Ariel CTS

PGI Title:

Status:

Inmate Wadley was interviewed today to collaborate on his first 60 Day review. He ts in Challenge Part status
currently attending morning meeting and process group only. Inmate Wadley was provided a copy of this treatment
progress review. He is working on being more open-minded and on managing his negative feelings during
perceived wrongs. He has been observed to be willing to follow the program's rules and has been participating well
in the small groups and large meetings. He has demonstrated he is able to live in harmony with others and is
developing healthy relationships. He noted responsibility was an area with which he has struggled in the past. He is
gaining insight in to his criminal and drug usage and has been assigned the task of continuing to gain Insight into
these areas. He is volunteering to the News Letter Committee. This activity is designed to help develop his sense
of community responsibility. Inmate Wadley has not received any incident reports in the past sixty days and overall
his progress is fair, Due by 2/4/2017.

Criminal Lifestyle
Active Last Updated: 01/18/2019 Last Provider: Garcia-Hernandez, Ariel CTS

Problem: Inmate Wadley is serving 622 month 6 year SRT for possessing and distribution of crack with a history of

Goal:

criminal behavior beginning at the age of 15 for receiving stolen property. He continued to engage in
criminal behavior consistently progressed since then.

Inmate Wadley will develop an increased awareness of his criminal thinking patterns/errors and the impact
of his crimes on himself and others. He will learn to accept responsibility for his actions and utilize adaptive
coping skills to manage negative emotions, and behaviors in order to live a more pro-social way of life.

interventions: Treatment Activity #1A:This activity was completed on 6/1/2047.

Treatment Activity #18: This activity was completed on 2/1/2017.

Treatment Activity # 1C:This activity was completed on 6/1/2017.

Treatment Activity #1D:This activity was completed on 9/29/2017.

Treatment Activity #1E:This activity was completed on 1/27/2018.

Treatment Activity #1F: This activity was completed on 3/28/2018.

Treatment Activity #1G:This activity was completed on 5/27/2018.

Treatment Activity #1H: This activity was completed on 9/21/2018.

Treatment Activity #11: This activity was completed on 5/27/2014 8.

Treatment Activity #1J: Inmate Wadley will learn how to implement the Five Spokes in finding balance. In

" groups, inmate will talk about how each spoke can be related to his personal situation. This will assist the
inmate in maintaining recovery and preventing return to maladaptive behaviors. Due: This will be evaluated

by
4/20/2019.

Treatment Activity #1K: Inmate Wadley will discuss the benefits of gaining structure and discipline in his
life. He will explore how in the past, his behaviors did not reflect structure and discipline; how he turned to

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_ Inmate Name: WADLEY, LODISE Reg #: 57447-066
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 40/04/2016 Closed Date: Status: Active Discussed: Yes

 

sell drugs. Here and now how structure in life help him to maintain his principles of his Muslim faith. Due: »
This activity will be evaluated by 1/20/2019.

Treatment Activity #1L: Inmate Wadley will identify and rehearse the management of future situations or

circumstances in which relapses could occur, He will develop effective exit strategies to apply in his path

of recovery and present it to the group for feedback. Due: This activity will be evaluated by 1/20/2019.
Progress Notes:

Understands concepts and demonstrates behavior(s) Date: 01/18/2019 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress

Treatment Activity #1A: This activity was complete on Bi/2017,

Treatment Activity #1B: This activity was complete on 2/1/2017.

Treatment Activity # 1C: This activity was complete on 6/1/2017.

 

Treatment Activity #1D: This activity was complete on 9/29/2017.

 

Treatment Activity #1E: This activity was complete on 1/27/2018.
Treatment Activity #1F: This activity was complete on 3/28/2018.
Treatment Activity #1G: This activity was complete on 5/27/2018,
Treatment Activity #1H: This activity was complete on 9/21/2018.
Treatment Activity #11: This activity was complete on 5/27/2018,

Treatment Activity #1J: Inmate Wadley learned how to implement the Five Spokes in finding balance. He continues
sharing in groups about how each spoke is related to his personal situation and how he is keeping his life in balance
here and now. He stated, by living a healthy and prosociat lifestyle." For example, using specific self-care skills
taught in the program such as: progressive relaxation, journaling, RSA's, and structured communication skills. Due:
This activity will remain open for discussion until the remainder of his time in the program. ,

Treatment Activity #1K: Inmate Wadley continue discussing the benefits of gaining structure and discipline in his life.
He has discussed how his use of thinking errors led to a lack of structure and discipiine. Today, he lives a structured
life as evidenced by his responsibility in participating in the program in a conscientious manner, he is functioning well
at a spiritual and social level, maintains gainful employment. He internalizes that he need to embraces a positive
structure and discipline to stay away from the criminal lifestyle. This activity will remain open until the end of the
program at the end of the next month.

Treatment Activity #1L: Inmate Wadley is discussing and rehearsing the management of future situations or
circumstances in which relapses could occur. He is going to keep developing effective exit strategies to apply in his
path of recovery and present it to the groups for feedback. Due: This activity will remain open until he completes the
program to ensure he continues to remain aware of the need to constantly improve his behavior and continues
sharing his experiences with the Cormmunity.
Understands concepts and demonstrates behavior(s) Date: 11/16/2018 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress
Treatment Activity #1A: This activity was compiete on 6/1/2017.

Treatment Activity #1B: This activity was complete on 2/1 f2017.

Treatment Activity #1C: This activity was complete on 6/1/2017.

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_Inmate Name: WADLEY, LODISE ~ Reg #: 57447-066
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 10/04/2016 Ctosed Date: Status: Active Discussed: Yes

 

Treatment Activity #1D: This activity was complete on 9/29/2017.
Treatment Activity #1E: This activity was complete on 1/27/2018.
Treatment Activity #1F: This activity was complete on 3/28/2016.
Treatment Activity #1G: This activity was complete on 5/27 12018.
Treatment Activity #1H:This activity was complete on 9/21/2018.
Treatment Activity #1l: This activity was complete on 6/27/2018.

Treatment Activity #1J: Inmate Wadley learned how to implement the Five Spokes in finding balance. In groups,
inmate has been talking about how each spoke is related to his personal situation and how he Is implementing the
new skills to maintain his recovery and avoid go back to maladaptive behaviors. This will assist the inmate in
maintaining recovery and preventing return to maladaptive behaviors. Due: This activity will remain open for
discussion until the remainder of his time in the program.

Treatment Activity #1K: Inmate Wadley continue discussing the benefits of gaining structure and discipline in his life.
He has discussed how his use of thinking errors fed to a lack of structure and discipline. Today, he lives a structured
life as evidenced by his responsibility in participating in the program in a conscientious manner, he is functioning well
at a spiritual and social level, maintains gainful employment. He internalizes that he need to embraces a positive
structure and discipline to stay away from the criminal lifestyle. This activity will remain open until the end of the
program at the end of the next month.

Treatment Activity #1L: Inmate Wadley is discussing and rehearsing the management of future situations or
circumstances in which relapses could occur. He is going to keep developing effective exit strategies to apply in his
path of recovery and present it to the groups for feedback, Due: This activity will remain open until he completes the
program to ensure he continues to remain aware of the need to constantly improve his behavior and continues
sharing his experiences with the Community.
Understands concepts and demonstrates behavior(s) Date: 09/20/2018 Provider: Garcia-Hernandez, Ariel CTS
indicative of reatment progress
Treatment Activity #1A: This activity was complete on 6/1/2017.

Treatment Activity #1B: This activity was complete on 2/1/2017.

Treatment Activity # 1C:This activity was complete on 6/1/2017.

Treatment Activity #1D:This activity was complete on 9/29/2017.

Treatment Activity #1E:This activity was complete on 1/27/2018.

Treatment Activity #1F:This activity was complete on 3/28/2018.

Treatment Activity #1G:This activity was complete on 5/27/2018.

Treatment Activity #1H: Inmate Wadley learned the three C's, discussed in group and explain how he can integrate
this knowledge into his daily life. He stated "! continues integrating my new knowledge in order fo modify my old
negative believe." He is also discussed the spoke check on community involvement and finding meaning and
purpose. He continues discussing his Statement of Commitment with the peers. This will assist the inmate in
maintaining recovery and preventing return to maladaptive behaviors. This activity has been discussed extensively

and is considered completed on 9/21/2018.

Treatment Activity #141: This activity was complete on 5/27/2018.
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inmate Name: WADLEY, LODISE Reg #: 57447-066
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 10/04/2016 Closed Date: Status: Active Discussed: Yes

 

Treatment Activity #1J: Inmate Wadley learned how to implement the Five Spokes in finding balance. In groups,
inmate has been talking about how each spoke is related to his personal situation and how he Is implementing the
new skills to maintain his recovery and avoid go back to maladaptive behaviors. He stated "| am learming different
ways to remain in a balanced life, by living a healthy and prosocial lifestyle.” This activity will remain open additional
time he will continues discussing when in group. Inmate Wadley will present in seminars the Five Spokes in finding
palance. Due by 11/27/2078.

Treatment Activity #1K: Inmate Wadley continue discussing the benefits of gaining structure and discipline in his life.
He has discussed how his use of thinking errors led to a lack of structure and discipline. Today, he lives a structured
life as evidenced by his responsibility in participating in the program in a conscientious manner, he is functioning well
at a spiritual and social level, maintains gainful employment. He noted he realized that he need to embraces a
positive structure and discipline to stay away from the criminal lifestyle. Due by 11/21/2018.

Treatment Activity #1L: Added: Inmate Wadley will identify and rehearse the management of future situations or
circumstances in which relapses could occur. He will develop effective exit strategies to apply in his path of recovery

and present it to the group for feedback. Due: This activity will be evaluated by 11/21/2018.
Not addressed yet Date: 07/18/2018 Provider: Garcia-Hernandez, Ariel CTS

Treatment Activity #1A: This activity was complete on 6/1/2017.
Treatment Activity #1B: This activity was complete on 2/1/2017.
Treatment Activity # 1C:This activity was complete on 6/1/2017.
Treatment Activity #1D: This activity was complete on 9/29/2017.
Treatment Activity #1E: This activity was complete on 1/27/2018.

Treatment Activity #1F: This activity was complete on 3/28/2018.

 

Treatment Activity #1G: This activity was complete on 5/27/2018.

 

Treatment Activity #1H: Inmate Wadley Is currently in the Criminal Lifestyle Journal. He began to explore the spoke
check on community involvement and finding meaning and purpose. Then will present and discuss his Statement of
Commitment. This will assist the inmate in maintaining recovery and preventing return to maladaptive behaviors.
Due: This will be reevaluated by 9/21/2018.

Treatment Activity #11: This activity was complete on 5/27/2018.

Treatment Activity #1J: Inmate Wadley will learn how to implement the Five Spokes in finding balance. In groups,
inmate will talk about how each spoke can be related to his personal situation. This will assist the inmate in
maintaining recovery and preventing return to maladaptive behaviors. Due: This will be reevaluated by 9/21/2018.

Treatment Activity #1K: Inmate Wadley will discuss the benefits of gaining structure and discipline in his life. He will
explore how in the past, his behaviors did not reflect structure and discipline; how he turned to sell drugs. Here and
now how structure in life help him to maintain his principles of his Muslim faith. Due: This activity will be reevaluated

by 9/21/2018.
Understands concepts and demonstrates behaviors) Date: 05/17/2018 Provider: Garcia-Hernandez, Ariel CTS

indicative of treatment progress
Treatment Activity #1A; This activity was complete on 6/1/2017.

Treatment Activity #1B: This activity was complete on 2/1/2017.

Treatment Activity #1C: This activity was complete on 6/1/2017.
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_ inmate Name: WADLEY, LODISE Reg #: 57447-0686
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 10/04/2016 Closed Date: Status: Active Discussed: Yes

 

Treatment Activity #1D: This activity was complete on 9/29/2017.
Treatment Activity #1E: This activity was complete on 1/27/2018.
Treatment Activity #1F: This activity was complete on 3/28/2018.

Treatment Activity #1G: Inmate Wadley completed the Communications Skills Journal. He stated, "Now | am
capable to recognize my physical signs of anger using the anger control strategies. For example, if | start raising my
voice is time to check my attitude, examine my thinking, and take time out. This always helps me to find a safe
harbor in those unexpected situation. | learned that if! keep my options open and | seek compromise will maintain
the possibility of positive communication with people. Due: This activity is considered completed on 5/27/2018.

Treatment Activity #1H: Inmate Wadiey is currently in the Criminal Lifestyle Journal. He began to explore the spoke
check on community involvement and finding meaning and purpose, Then will present and discuss his Statement of
Commitment. This will assist the inmate in maintaining recovery and preventing return to maladaptive behaviors.
Due: This will be evaluated by 7/24/2018.

Treatment Activity #11: Inmate Wadley is tasked to use information from the Communication Journal to determine
how he is relating to others in the here and now. He stated, "Now | am applying good communication skills in groups
and community by being open to listen, honest and improving my participating in ail group sessions. | have been
gained insight into my communication style and | am consistently chosen to follow the new less aggressiveness style
of communication." Staff observation is that inmate Wadley Is a calm and direct communicator who does not use an
aggressive style to express himself. Inmate Wadley has thoroughly addressed this activity previously. This activity
is considered completed on 6/27/2018,

 

 

Treatment Activity #1J: Added: Inmate Wadley will learn how to implement the Five Spokes in finding balance. In
groups, inmate will talk about how each spoke can be related to his personal situation. This will assist the inmate in
maintaining recovery and preventing return to maladaptive behaviors. Due: This will be evaluated by 7/24/2018.

Treatment Activity #1K: Added: Inmate Wadley will discuss the benefits of gaining structure and discipline in his life.
He will explore how in the past, his behaviors did not reflect structure and discipline; how he turned to sell drugs.
Here and now how structure in life help him to maintain his principles of his Muslim faith. Due: This activity will be
evaluated by 7/24/2018.
Understands concepts and demonstrates behavior(s) Date: 03/26/2018 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress
Treatment Activity #1A: This activity was complete on 6/1/2017.

Treatment Activity #18: This activity was complete on 2/1/2017.
Treatment Activity # 1C: This activity was complete on 6/1/2017.

Treatment Activity #1D: This activity was complete on 9/29/2017.
Treatment Activity #1E: This activity was complete on 1/27/2018.
Treatment Activity #1F: As we discussed previously, inmate Wadley learned about criminal thinking errors and how
to stop using those. Now he is capable to clearly identify the use of criminal thinking errors that preclude him to
accomplish his goals, and promulgates irrational behavior. He added has learned the uses of the five rules of
rational thinking extensively. He has stated, "those five rules help me to stay focused on getting my goals in the
program and freedom." He is observed by staff to conduct his affairs in a rational manner. His behavior suggests he

~ uses rational thinking. Since he is using rational thinking skills regularly, this activity has been completed on
3/28/2018. -

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; Inmate Name: WADLEY, LODISE ‘ ; Reg #: 57447-066
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 10/04/2016 Closed Date: Status: Active Discussed: Yes

 

Treatment Activity #2G: Inmate is currently in the Communications Skills Journal. inmate Wadley has been
practicing good communications skills in group by being open, honest and participating in all group sessions, He
has gained insight into his communication style and has consistently chosen to follow the new style of less
aggressive communication. This activity will remain open another 60 day period so that he can share this information
in his next seminar presentation, and seek feedback from the community, Due by 5/27/2018.

Treatment Activity #1G: Inmate Wadley will be entering the Criminal Lifestyle Journal within the next three weeks.
Then will present and discuss his Statement of Commitment to change the criminal Iifestyle, with his groups and will
seek feedback from his peers. Due by 5/27/2018.

Treatment Activity #1H: Added: Inmate Wadley is tasked to use information from the Communication Journal to
determine how he is relating to others in the here and now. Is he appropriate and is he advancing his goals with his
communication style? He is to share this with his peers. Due: Will be evaluated by 5/27/2018.

Understands concepts and demonstrates behavior(s) Date: 01/19/2018 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress

Treatment Activity #1A: This activity was complete on 6/1/2017.
Treatment Activity #1B: This activity was complete on 2/1/2017.
Treatment Activity #1C: This activity was complete on 6/1/2017.
Treatment Activity #1D: This activity was compiete on 9/29/2017.

Treatment Activity #1E: Inmate Wadley is learned the three C's. He is discussing them in group and how he can
integrate this knowledge into his daily life. Now that he learned the concept of the three C's, He stated "I continues
integrating my new knowledge in order to modify my old negative believe.” This activity has been discussed
extensively and is considered completed on 1/27/2018.

Treatment Activity #1F: As we discussed previously, inmate Wadley is learning about criminal thinking errors. He is
capable to identify the thinking errors that he considers are dangerous fer him: mollification, entitlement, and super
optimism. He stated "The use of this thinking errors brought me to prison | will do the necessary to control and
eradicate these." This activity will remain open another 60 day to encourage him to share this information when in
group. Due by 3/28/2018.

Treatment Activity #2G: Inmate has not yet entered the Communications Skills Journal. However, inmate Wadley
has been practicing good communications skills in group by being open, honest and participating in all group
sessions. -He will learn and apply the three elements of communications and seek feedback. Due: This activity will
be evaluated by 3/28/2018.

Treatment Activity #1G: Added: Inmate Wadiey will discuss his Statement of Commitment to change the criminal
lifestyle, with his groups and will seek feedback from his peers. Due by 3/28/2018.

Understands concepts and demonstrates behavior(s) Date: 11/20/2017 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress

Treatment Activity #1A: This activity was complete on 6/1/2017.

Treatment Activity #1B: This activity was complete on 2/1/2017,

Treatment Activity #1C: This activity was complete on 6/1/2017.

Treatment Activity #1D: This activity was complete on 9/29/2017.

Treatment Activity #1E: Inmate Wadley is learned the three C's. He is discussing them in group and how he can

integrate this knowledge into his daily life. Now that he learned the concept of the three C's, he is discussing in
group the way he integrated the concepts in his life, and actually exhibiting the control over his cognitions and

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Inmate Name: WADLEY, LODISE Reg #: 57447-066

Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 10/04/2016 Closed Date: Status: Active Discussed: Yes

 

choices. He stated "| continues integrating my new knowledge in order to modify my old negative believe." Due:
This will be evaluated in the next 60 day by 1/27/2018.

Treatment Activity #1F: Inmate Wadley is learning about criminal thinking errors. He identifies Mollification, and
Cutoff the most used in the past. Inmate Wadley has shared he now uses objectivity to balance his excuse making.
This activity will remain open while he develops additional skills to curb Cutoff. Due by 1/27/2018.

Treatment Activity #2G: Inmate has not yet entered the Communications Skills Journal. However, inmate Wadley
has been practicing good communications skills in group by being open, honest and participating in all group
sessions. He will learn and apply the three elements of communications and seek feedback. Due: This activity will
be evaluated by 1/27/2018.
Understands concepts and demonstrates behavior(s) Date: 09/18/2017 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress
Treatment Activity #1A: This activity was complete on 6/1/2017.

Treatment Activity #1B: This activity was complete on 2/1/2017.
Treatment Activity #1C: This activity was complete on 6/1 f2017.

Treatment Activity #1D: As we discussed previously, inmate Wadley noted he used blaming, and loaded words, the
most used in the past. Inmate Wadley has shared he now uses objectivity to balance his excuse making. He noted
also that stil! uses Cutoff at times to avoid negative feelings with others, but not to commit infractions. It is expecting
that he will continues using the RSA's as a valuable instrument to improve his rational thinking and continues
sharing the outcome and accepting feedback. He explained, "By using RSA‘s it help me to stay objective in my
behavior when dealing with my peers and staff. It has assisted me to see a situation more clearly." Due: This
treatment activity has been completed on 9/29/2017.

Treatment Activity #1E: Inmate has not yet entered to this Journal he is learning the three C's, and discussing in
group and explain how he can integrate this knowledge into his daily life. This activity will remain open beyond this
due date for on-going examination. Due: This will be evaluated in the next 60 days by 11/28/2017.

Treatment Activity #1F: Inmate Wadiey has not entered the Criminal Lifestyle journal. He will learn about criminal
thinking errors in that Journal, which will begin within the next 60 days. He will discuss in group his criminal
behavior. He will learn the reasons for his past behavior and accept feedback from others which may add to his
discoveries. Due: This activity will be evaluated by 11/28/2017.

Treatment Activity #2G: Added: Inmate has not yet entered the Communications Skills Journal. However, inmate
Wadley has been practicing good communications skills in group by. being open, honest and participating in all group
sessions, He will learn and apply the three elements of communications and seek feedback. Due: This activity will
be evaluated by 11/28/2017.
Understands concepts and demonstrates behavior(s) Date: 07/20/2017 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress
Treatment Activity #1A; This activity was complete on 6/1/2017.

Treatment Activity #1B: This activity was complete on 2/1/2017.
Treatment Activity #1C: This activity was complete on 6/1/2017.

Treatment Activity #1D: As we discussed previously, inmate Wadley noted he used blaming, and loaded words, the
most used in the past. Inmate Wadley has shared he now uses objectivity to balance his excuse making. He noted
also that still uses Cutoff at times to avoid negative feelings with others, but not fo commit infractions. He is showing
progress. He has been using the RSA's to overcome using the Rationing Thinking Errors. Wadley continues gaining
a broader perspective of the RSAs. This perspective has been helping him batance his thinking to become more
rational. He acknowledges that he needs to do a better job of curbing his use of these thinking areas. Using the

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Inmate Name: WADLEY, LODISE Reg #: 57447-066

‘Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 10/04/2016 Closed Date: Status: Active Discussed: Yes

 

Criminal Lifestyle Journal in which he will be working in the near future and he will obtain more benefit. This activity
will remain open for another 60 days. Due by 9/29/2017.

Treatment Activity #1: Inmate Wadley will learn the three C's, then discuss in group and explain how he can
integrate this knowledge into his daily life. This activity will remain open beyond this due date for on-going
examination. Due: This will be evaluated in the next 60 days by 9/29/2017.

Treatment Activity #1F: Inmate Wadley will learn about criminal thinking errors in the Criminal Lifestyle journal, which
will begin within the next 60 days. He will discuss in group his criminal behavior. He will learn the reasons for his
past behavior and accept feedback from others which may add to his discoveries. Due: This activity will be
evaluated by 9/29/2017.

Understands concepts and demonstrates behavior(s} Date: 05/25/2017 Provider: Garcia~Hernandez, Ariel CTS
indicative of treatment progress

Treatment Activity: #1A; As noted in the last 60 day progress review inmate Wadley continues to share with his
peers how his criminal behavior has impacted his life and the life of others. He has been honest about his past and
has not glorified his crimes. is le He has shared that he feels very optimistic about his.next goal to reach, which is to
learn to stop using thinking errors and use rational thinking. He added that he is committed to continue adhering to
all the rules and regutations of the program using the Positive Attitudes of Change in order to reach his goals. This
activity is considered complete on 6/1/17.

Treatment Activity #1B: This activity was complete on 2/1/2017.

Treatment Activity # 1C: Inmate Wadley has discussed this topic extensively, while in process group, seminars and
during opportunities in the community meeting. He was able to recite the Positive Attitudes of Change and gave
specific examples of each as it relates to his life. He has been expressing willingness, open-mindedness and caring
toward his peers. Inmate appears to be more receptive to accept feedback he shows a fair improvement in his
responses an open-mindedness attitude. Overall, this inmate has addressed this activity and has made notable
progress. This activity is considered complete on 6/1 M7.

Treatment Activity #1D: Inmate Wadiey noted he used blaming, and loaded words, the mast used in the past.

Inmate Wadley has shared he now uses objectivity to balance his excuse making. He noted he still uses Cutoff at
times to avoid negative feelings with others, but not to commit infractions. He is showing progress. He has been
using the RSA's to overcome using the Rationing Thinking Errors. Wadley has been gaining a broader perspective
of the RSAs. This perspective has been helping him balance his thinking to become more rational. He
acknowledges that he needs to do a better job of curbing his use of these thinking areas. Using the Criminal Lifestyle
Journal in which he will be working in the near future and he will obtain more benefit. This activity will remain open
for another 60 days. Due by 7/31/2017.

Treatment Activity #4E: Added: Inmate Wadley will learn the three C's, then discuss in group and explain how he
can integrate this knowledge into his daily life. This activity will remain open beyond this due date for on-going
examination, Due: This will be evaluated in the next 60 days by 7/31/2017.

Treatment Activity #1F: Added: Inmate Wadley will learn about criminal thinking errors in the Criminal Lifestyle
journal, which will begin within the next 60 days. He will discuss in group his criminal behavior. He will learn the
reasons for his past behavior and accept feedback from others which may add to his discoveries. Due: This activity
will be evaluated by 7/31/2017.

Understands concepts and demonstrates behavior(s) Date: 03/28/2017 Provider: Garcia-Herandez, Ariel CTS
indicative of treatment progress

Treatment Activity: #1A;: As noted in the last 60 day progress review inmate Wadley has begun to share with his
peers how his criminal behavior has impacted his life and the life of others. He has been honest about his past and
has not glorified his crimes. He explained he maintained his criminal activity over many years since he was earning
money, with no consideration of the impact in his life and the life of others. This activity will remain open for
additional processing while he is in the Orientation Phase and has the opportunity to discuss it at length. Due by
6/1/2017.

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_Inmate Name: WADLEY, LODISE “Reg #: 57447-066
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility. COP
Open Date: 40/04/2016 Closed Date: Status: Active Discussed: Yes

 

Treatment Activity #1B: This activity was complete on 2/1/2017.

Treatment Activity #1C: Inmate Wadley is currently in the Orientation Phase of the program. He was able to recite
the Positive Attitudes of Change and gave specific examples of each as it relates to his life. For example, in this
encounter he has been struggling with objectivity. He stated, “| was habituated to jump to conclusions not taking in
consideration the facts in that particular situation.” He added that he is committed to continue adhering to all the
rules and regulations of the program using the Positive Attitudes of Change. This activity will remain open during the
next 60 Days while he explores this further, receives feedback about how to improve, and ultimately improves in this
area. Due by 6/1/2017.

Treatment Activity #1D: Inmate Wadiey has not yet entered the Rational Thinking Journal. Once he enters he will
identify the thinking errors which he used the most and how he has curbed them. He will memorize and apply the
five rules of rational thinking. Due by 6/1/2017.
Understands concepts and demonstrates behavior(s) Date: 04/31/2017 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress
Treatment Activity: #1A: Inmate Wadiey has begun to share with his peers how his criminal behavior has impacted
his life and the life of others. He has been honest about his past and has not glorified his crimes. He explained he
maintained his criminal activity over many years since he was earning money, with no consideration of the impact in
his life and the life of others. This activity will remain open for additional processing while he is in the Orientation
Phase and has the opportunity to discuss it at length. Due by 4/2/2017, - :

Treatment Activity #1B: Inmate Wadley was tasked with learn the Philosophy Statement by the time of his first 60
Day Review. During this encounter he was able to recite the Philosophy Statement. He explained, "The Philosophy
Statement is teaching me those principles that | overlook in the pass. Now! am willing to apply those principles in
order to reconcile myse!f with the society." He has demonstrated some personal growth from this activity. This
activity is considered complete on 2/1/2017.

 

 

Treatment Activity # 1C: Inmate Wadley has not yet entered the Orientation Phase of the program. He was able to
recite the Positive Attitudes of Change and gave specific examples of each as it relates to his life. For example, in
this encounter he has been struggling with objectivity. He stated, "I was habituated to jump to conclusions not taking
in consideration the facts in that particular situation." He added that he is committed to continue adhering to all the
rules and regulations of the program using the Positive Attitudes of Change. This activity will remain open during the
next 60 Days while he explores this further, receives feedback about how to improve, and ultimately improves in this
area. Due by 4/2/2017,

Treatment Activity #1D: Added: Inmate Wadley will be learning the Rational Thinking Errors and will be tasked with
- identifying the thinking errors which he used the most and how he has curbed them. He will memorize and apply the
five rules of rational thinking. Due by 4/2/2047.
Understands concepts and demonstrates behavior(s) Date: 11/30/2016 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress
Treatment Activity: #1A: Inmate Wadley has begun to share with his peers how his criminal behavior has impacted
his life and the life of others. He has been honest about his past and has not glorified his crimes. Inmate Wadley
stated that when he was committing crimes he did not think about the repercussions it wauld have on his life and his
loved one's life. Since it is important he continues to discuss this as he continues in the Process Groups, this activity
will remain open and will be reevaluated by 2/1/2017. ,

Treatment Activity #1B: Inmate Wadley was tasked with learn the Philosophy Statement by the time of his first 60
Day Review. He is unable to recite the Philosophy Statement. He reported that he is able to recite the statement
with assistance. He added, “The Philosophy Statement shows me to be fully aware of my responsibility with the
society but, especially with me." Also that he acknowledges the importance of memorizing it and plans to have it -
memorized in the next 60 days review due by 2/1/2017.

Treatment Activity #1C: Inmate Wadley has not yet entered the Orientation Phase of the program. He reported that
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_Inmate Name: WADLEY, LODISE Reg #: 57447-0686
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 10/04/2016 Closed Date: Status: Active Discussed: Yes

 

he is working on memorizing the Eight Attitudes of Change. During this review he recited a few of the concepts and
gave specific examples of them. He identified the following concept: Responsibility. At this time he has insight and
has acknowledged he needs to continue improving on this concept he has been struggling for long time. Due by

2/1/2017.
PGI Title: Substance Abuse
Status: Active Last Updated: 01/18/2019 Last Provider: Garcia-Hernandez, Ariel CTS
Problem: inmate Wadley reported he began to use marijuana at the age 13 and progressed to daily use by the age

of 18. He began to use codeine syrup at the age of 15 and used it daily

periodically increases. He noted he developed tolerance, cravings, and withdrawal symptoms. He noted
he developed tolerance for the drug and added he became lazy, forgetful, and negatively impacted areas of
life such as work, relationships, finances, and legal.

Goal: Inmate Wadley reported he stopped using drugs 13 years ago and now is seeking additional reinforcement
for his sober and non-drug using lifestyle. He wants to continue this healthy lifestyle utilizing healthy coping
mechanism. He will learn to accept responsibility for his actions and utilize adaptive coping skills to
manage negative emotions.

Interventions: Treatment Activity #2A:This activity was complete on 41/28/2017.

Treatment Activity #2B: This activity was complete on 9/21/2018,
Treatment Activity# 2C: This activity was complete on 3/28/2018,

Treatment Activity# 2D:Inmate Wadley will present and discuss "What are some of the obstacles that may
interfere with your positive change." Discuss this with your peers during group sessions and seek
feedback. Due: This activity will be evaluated by 1/20/2019.

Treatment Activity #2E: Inmate Wadley is discussing with his peers the impact that relapse will have on
himself and his family. He identified support networks like family, he identify this as a primary support
network for him. This will assist the inmate in maintaining recovery and preventing return to maladaptive
behaviors. Due: This will be reevaluated by 1/20/2019.

Treatment Activity #2F; Inmate Wadley will identify the Key transition issues he believe will be the greatest

challenge for him and present it fo the group for feedback. Due: This activity will remain open until he

completes the program or by 1/20/2019.
Progress Notes:

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Understands concepts and demonstrates behavior(s) Date: 01/18/2019 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress
Treatment Activity #2A: This activity was complete on 11/28/2017.

Treatment Activity #2B: This activity was complete on 9/21/2018.
Treatment Activity# 2C: This activity was complete on 3/28/2018.

Treatment Activity #2D: As we discussed previously, inmate Wadley continues presenting and discussing in
seminars, "What are some of the obstacles that may interfere with his positive change. He noted, "My old lifestyle is
not part of my future. | am internalizing new and positives believe which will help me to stay in balance." He wants to
implements RSA's and self-tatks to help him work through irrational thinking. This activity will remain open until he
completes the program to ensure he continues to remain aware of the need to constantly improve his behavior and
continues sharing his experiences with the peers.

Treatment Activity #2E: Inmate Wadley continue discussing with his peers the impact that relapse will have on
himself and his family. He stated that will be a negative impact in his relationship with his family and friends, and the
loss of freedom or life. He pointed, "The old lifestyle, the need for money, and the old friend are triggers in my life."

This activity will remain open until the end of the program at the end of the next month,
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inmate Name: WADLEY, LODISE Reg #: 57447-066
Date of Birth: § 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 40/04/2016 | Closed Date: Status: Active Discussed: Yes

 

Treatment Activity #2F: Inmate Wadley identified the Key transition issues he believe will be the greatest challenge
for him, "Social Pressure." He is to continue discussing it with his peers for feedback. This activity will remain open
until the end of the program at the end of the next month,
Understands concepts and demonstrates behavior(s) Date: 11/46/2018 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress
Treatment Activity #2A:This activity was complete on 11/28/2017.

Treatment Activity #2B: This activity was complete on 9/21/2018.
Treatment Activity# 2C: This activity was complete on 3/28/2018.

Treatment Activity #2D: As we discussed previously, inmate Wadiey continues presenting and discussing in
seminars, "What are some of the obstacles that may interfere with his positive change. He noted, "My old lifestyle is
not part of my future. | am internalizing new and positives believe which will help me to stay in balance." He wants to
implements RSA's and self-talks to help him work through irrational thinking. This activity will remain open until he
completes the program to ensure he continues to remain aware of the need to constantly improve his behavior and
continues sharing his experiences with the peers.

 

 

Treatment Activity #2E: Inmate Wadley continue discussing with his peers the impact that relapse will have on
himself and his family. He stated that will be a negative impact in his relationship with his family and friends, and the
loss of freedom or life. He pointed, "The old lifestyle, the need for money, and the old friend are triggers in my life."
This activity will remain open until the end of the program at the end of the next month.

Treatment Activity #2F: Inmate Wadley identified the Key transition issues he believe will be the greatest challenge
for him, "Social Pressure." He is to continue discussing it with his peers for feedback. This activity will remain open
until the end of the program at the end of the next month.
Understands concepts and demonstrates behavior(s) Date: 09/20/2018 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress
Treatment Activity #2A: This activity was complete on 11/28/2017.

Treatment Activity #2B: As noted in the last 60 day progress review inmate Wadley continues participating in the
community in a pleasing manner. He identified triggers to relapse with his peers. He continues participating in
heatthies activities which do not involve the use of alcohol or drugs. As a tactic he is implementing the new skills
learned to maintain his recovery and avoid go back to maladaptive behaviors. He stated "I learned different ways fo
remain in a balanced life, by living a healthy and prosocial lifestyle and avoid the temptation to use alcohol." He has
thoroughly examined this area and this activity is considered completed on 9/2 1/2018.

Treatment Activity# 2C: This activity was complete on 3/28/2018.

Treatment Activity #2D: As we discussed previously, inmate Wadley continues presenting and discussing in
seminars, “What are some of the obstacles that may interfere with his positive change. He noted, "My old lifestyle is
not part of my future. ! am internalizing new and positives believe which will help me to stay in balance.” He wants to
implements RSA's and self-talks to help him work through irrational thinking. This activity will remain open until he
completes the program to ensure he continues to remain aware of the need to constantly improve his behavior and
continues sharing his experiences with the Community. Due by 11/21/2018.

Treatment Activity #2E: Inmate Wadley continue discussing with his peers the impact that relapse will have on
himself and his family. He stated that will be a negative impact in his relationship with his family and friends, and the
loss of freedom or life. He indicated that he is conscious that the recovery is a life time journey of commitment. Due
by 11/21/2018.

Treatment Activity #2F: Added: Inmate Wadley will identify the Key transition issues he believe will be the greatest
challenge for him and present it to the group for feedback. Due: This activity will remain open until he completes the

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_ Inmate Name: WADLEY, LODISE Reg #: 57447-066
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 10/04/2016 Closed Date: Status: Active Discussed: Yes

 

program or by 11/21/2018. .
Not addressed yet Date: 07/18/2018 Provider: Garcia-Hernandez, Ariel CTS
Treatment Activity #2A: This activity was complete on 1 4/28/2017.

Treatment Activity #2B: Inmate Wadley continues participating in the community in a pleasing manner. He
acknowledges that he will need to be more involved in the community meetings and has been observed in some
interaction with community members during the word of the day segment of these meetings. He is also assisting in
giving pull-ups and constructive feedback in the morning meeting and groups. His involvement demonstrates
willingness, responsibility, humility, and caring. This activity will remain open for further review by 9/21/2018,

Treatment Activity# 2C: This activity was complete on 3/28/2018.

Treatment Activity #2D: Inmate Wadley is presenting and discussing in seminars, "What are some of the obstacles
that may interfere with his positive change." He share with the community his personal triggers that could make him
relapse. For example, old friends who continue to use drugs and specific places in the neighborhood. This activity
will remain open another 60 day period so that he can share this information in his next seminar presentation. Due
by 9/21/2018.

Treatment Activity #2E: Inmate Wadley is discussing with his peers the impact that relapse will have on himself and
his family. He identified support networks like family, religion group, and social organizations against alcohol and
drugs. These groups will increase the fime he spends engaging in pro-social activities that increase his chances of
sobriety and decrease his maladaptive behaviors. He added, "| recognize that a relapse will have an inimical action
on me and my family relationship." Due: This will be reevaluated by 9/21/2018.
Understands concepts and demonstrates behavior(s) Date: 05/17/2018 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress
Treatment Activity #2A: This activity was complete on 4 1/28/2017.

Treatment Activity #2B: Inmate Wadley continues participating in the community in a pleasing manner. He
acknowledges that he will need to be more involved in the community meetings and has been observed in some
interaction with community members during the word of the day segment of these meetings. He is also assisting in
giving pull-ups and constructive feedback in the morning meeting and groups. His involvement demonstrates
willingness, responsibility, humility, and caring. This activity will remain open for further review by 7/24/2018.

Treatment Activity# 2C: This activity was complete on 3/28/2018.

' Treatment Activity #2D: Inmate Wadley is presenting and discussing in seminars, "What are some of the obstacles
that may interfere with his positive change." He share with the community his personal triggers that could make him
relapse. For example, old friends who continue to use drugs and specific places in the neighborhood. This activity
will remain open another 60 day period so that he can share this information in his next seminar presentation. Due
by 7/24/2018,

Treatment Activity #2E: Inmate Wadley is discussing with his peers the impact that relapse will have on himself and
his family. He identified support networks like family, religion group, and social organizations against alcohol and
drugs. These groups will increase the time he spends engaging in pro-social activities that increase his chances of
sobriety and decrease his maladaptive behaviors. He added, "I recognize that a relapse will have an inimical action
on me and my family relationship." Due: This will be reevaluated by 7/24/2018.
Understands concepts and demonstrates behavior(s) Date: 03/26/2018 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress
Treatment Activity #2A: This activity was complete on 1 1/28/2017.

Treatment Activity #2B: Inmate Wadley has participated in the community in a pleasing manner, He acknowledges
that he will need to be more involved in the community meetings and has been observed in some interaction with
community members during the word of the day segment of these meetings. He is also assisting in giving pull-ups
and constructive feedback in the morning meeting and groups. His involvement demonstrates willingness,
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_Inmate Name: WADLEY, LODISE Reg #: 57447-0606
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 10/04/2016 Closed Date: Status: Active Discussed: Yes

 

responsibility, humility, and caring. This activity will remain open for further review by 5/27/2018.

Treatment Activity# 2C: As we discussed previously, inmate Wadley continues exploring new activities that he can
participate in, while incarcerated and after release, that are free from drugs and alcohol. Inmate has become more ~
involved in the community by voluntarily participating in giving feedback to program participants during pull ups. He
has also given positive praise to community members and maintains his principles of his Muslim faith. His increased
involvement in the community demonstrates his willingness and caring. Inmate Wadley has thoroughly addressed
this activity previously. This activity is considered completed on Due by 3/28/2018.

Treatment Activity #2D: Inmate Wadley is presenting and discussing in seminars "What are some of the obstacles
that may interfere with his positive change." Continues discussing this with your peers during group sessions and
seek feedback. Due: This activity will be evaluated by 5/27/2018.

Treatment Activity #2E: Inmate Wadley is discussing with his peers the impact that relapse will have on himself and
his family. He identified support networks like family, he identify this as a primary support network for him. This will
assist the inmate in maintaining recovery and preventing return to maladaptive behaviors. Due: This will be
reevaluated by 5/27/2018.

Understands concepts and demonstrates behavior(s) Date: 01/19/2018 Provider:Garcia-Hernandez, Ariel CTS
indicative of treatment progress

Treatment Activity #2A: This activity was complete on 11/28/2017.

Treatment Activity #2B: Inmate Wadley has participated in the community in a pleasing manner. He acknowledges
that he will need to be more involved in the community meetings and has been observed in some interaction with
community members during the word of the day segment of these meetings. Inmate Wadley continues working on
improving his participation in community meetings and states that within the next 60 days there will be improvement
in this area. This activity will remain open for further review. By 3/28/2018.

Treatment Activity# 2C: inmate Wadley continues exploring new activities that he can participate in, while
incarcerated and after release, that are free from drugs and alcohol, Inmate has,become more involved in the
community by voluntarily participating in giving feedback to program participants during pull ups. He has also given
positive praise to community members and maintains his principles of his Muslim faith. His increased involvement in
the community demonstrates his willingness and caring. This activity will remain open for another 60 days. Due by
3/28/2018.

Treatment Activity #2D: Added: Inmate Wadley will present and discuss "What are some of the obstacles that may
interfere with your positive change." Discuss this with your peers during group sessions and seek feedback. Due:
This activity will be evaluated by 3/28/2018.

Understands concepts and demonstrates behavior(s) Date: 11/20/2017 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress

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Treatment Activity #2A: Inmate Wadley continues openly sharing his drug use history with his peers, he accepts and
gave feedback. He stated that his addiction was harmful to relationships especially with his family, He explained
again that the principles of his Muslim faith, which are also consistent with the principles of the program, have helped
him to maintain focus on his goals and maintain sobriety. He added that these principles such as responsibility and
willingness have helped him to keep thinking errors such as cognitive indolence and discontinuity at bay. In
addressing the activity, it is his commitment to these principles found in his faith and in the program which have
helped him to change. He has discussed this at length and, therefore, this activity is considered complete on
41/28/17.

Treatment Activity #2B: Inmate Wadley has participated in the community in a pleasing manner. He has provided
feedback during pull-ups, has provided positive praise, has participated and presented as part of the Morning
Organizer Committee. Also he has been developed as the spiritual guide for some Muslims in the unit. He will
continues working in topics related to the process of Change for his seminar hour. This activity will remain open for
on-going evaluation throughout the next 60 day review, which will be by 1/27/2018.

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_Inmate Name: WADLEY, LODISE Reg #: 57447-066
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 10/04/2016 Closed Date: Status: Active Discussed: Yes

 

Treatment Activity# 2C: As we discussed previously, inmate Wadley noted he continues discussing activities that he
can participate in, while incarcerated and after release, that are free from drugs and alcohol. Inmate has become
more involved in the community by voluntarily participating in giving feedback to program participants during pull
ups. He has also given positive praise to community members and maintains his principles of his Muslim faith. His
increased involvement in the community demonstrates his willingness and caring, This activity will remain open to
encourage his continued involvement. Due: This activity will be reevaluated by 1/27/2018.

Treatment Activity# 2D: Added: Inmate Wadley is tasked to use information from the Communication Journal to
determine how he is relating fo others in the here and now. ls he appropriate and is he advancing his goals with his
communication style? He is to share this in seminars with his peers. Due: by 1/27/2018.

Understands concepts and demonstrates behavior(s) Date: 09/18/2017 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress

Treatment Activity #2A: Inmate Wadiey continues openly sharing his drug use history with his peers, he accepts and
gave feedback. He stated that his addiction was harmful to relationships especially with his family. Now "My life has
changed for good since | have been participating in the program." This activity will remain open to allow him to
continue identifying and sharing the underlying reasons and motivations for his drug use and the reasons he stopped
using drugs. Due: This will be reevaluated by 11/28/2017.

Treatment Activity #2B: Inmate Wadley has participated in the community in a pleasing manner. He has provided
feedback during pull-ups, has provided positive praise, has participated and presented as part of the Morning
Organizer Committee. He continues working in a topic for his seminar hour. This activity will remain open for on-
going evaluation throughout the next 60 day review, which will be by 11/28/2017.

Treatment Activity# 2C: As we discussed previously, inmate Wadley noted he continues discussing activities that he
can participate in, while incarcerated and after release, that are free from drugs and alcohol. He explained that the
principles of his Muslim faith, which are also consistent with the principles of the program, have helped him to
maintain focus on his goals and maintain sobriety. He is sharing and discussing in process group his history of
drug/alcohol use. This activity will remain open for on-going review. Due by 11/28/2017.

Understands concepts and demonstrates behavior(s) Date: 07/20/2017 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress

Treatment Activity #2A: inmate Wadley continues sharing his drug use history with his peers, he accepts and gave
feedback. He began analyzing the negative impact of drug use in his life. He added, "This was the way | harmed
myself, and my family. Now| am taking ownership for my negative thoughts and behaviors." CTS observations of
Inmate Wadley are that, he is implementing the Attitudes of Change as seen by assisting his peers, caring for the
community. This activity will remain open longer until he learns additional concepts that will help him to better
understand his substance abuse and negative behaviors. Due: This will be reevaluated by 9/29/2017.

Treatment Activity #2B: Inmate Wadley has participated in the community in a pleasing manner. He has provided
feedback during pull-ups, has provided positive praise, has participated and presented as part of the Morning
Organizer Committee. He continues working in a topic for his seminar hour. "The role that the criminality plays in
society.” This activity will remain open for on-going evaluation throughout the next 60 day review, which will be by
9/29/2017.

Treatment Activity# 2C: In this encounter inmate Wadley continues discussing activities that he can participate in,
while incarcerated and after release, that are free from drugs and alcohol. He explained that the principles of his
Muslim faith, which are also consistent with the principles of the program, have helped-him to maintain focus on his
goals and maintain sobriety, He is sharing and discussing in process group his history of drug/alcohol use. This
activity will remain open for on-going review. Due by 9/29/2017.

Understands concepts and demonstrates behavior(s) Date: 05/25/2017 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress

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Treatment Activity #2A: As noted in the last 60 day progress review inmate Wadley continues sharing his drug use
history with his peers, he accepts and gave feedback. He began analyzing the negative impact of drug use in his life.
He added, "This was the way | harmed myself, and my family. Now | am taking ownership for my negative thoughts
and behaviors." CTS observations of Inmate Wadley are that, he is implementing the Attitudes of Change as seen

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_ Inmate Name: WADLEY, LODISE Reg #: 57447-066
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility: COP
Open Date: 10/04/2016 Closed Date: Status: Active Discussed: Yes

 

by assisting his peers, caring for the community. This activity will remain open longer until he learns additional
concepts that will help him to better understand his substance abuse and negative behaviors. Due: This will be
reevaluated by 7/31/2017.

Treatment Activity #2B: Inmate Wadley has participated in the community in a pleasing manner. He has provided
feedback during pull-ups, has provided positive praise, has participated and presented as part of the Morning .
Organizer Committee. He continues working in a topic for his seminar hour. "The role that the criminality plays in
society." This activity will remain open for on-going evaluation throughout the next 60 day review, which will be by
7/31/2017.

Treatment Activity# 2C: In this encounter inmate Wadley continues discussing activities that he can participate in,
while incarcerated and after release, that are free from drugs and alcohol. He explained that the principles of his.
Muslim faith, which are also consistent with the principles of the program, have helped him to maintain focus on his
goals and maintain sobriety. He is sharing and discussing in process group his history of drug/atcohol use. This
activity will remain open for on-going review. Due by 7/31/2017,

Understands concepts and demonstrates behavior(s) Date: 03/28/2017 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress

Treatment Activity #2A: Inmate Wadley continues sharing his drug use history with his peers, he accepts and gave
feedback. He stated, “My motivation is the family and my goal is to be with them; E will maintain my sober status. |
have been sober for fourteen year and | want to stay that way the rest of my life.” This activity will remain open
longer until he learns additional concepts that will help him to better understand his substance abuse and negative
behaviors. Due: This will be reevaluated by 6/1/2017.

Treatment Activity #2B: Inmate Wadley is tasked with present, support, and participates in the Community Meeting
and seminars in a regular fashion. He continues working ina topic for his seminar hour. Inmate expiained, “The
topic is the role that the criminality plays in society. This helps me to continue developing honest insight into my
drug use, and criminal lifestyle.” Due: This activity will remain open for on-going evaluation throughout the next 60
day review, which will be by 6/1/2017.

Treatment Activity# 2C: Inmate Wadley continues energetic in activities that he can participate in, while incarcerated
and after release, that are free from drugs and alcohol. He explained that the principles of his Mustim faith, which
are also consistent with the principles of the program, have helped him to maintain focus on his goals and maintain
sobriety. He is sharing and discussing in process group his history of drug/aicohol use. Due: This will be
reevaluated by 6/4/2017.

Understands concepts and demonstrates behavior(s) Date: 04/34/2017 Provider: Garcia-Hernandez, Ariel CTS
indicative of treatment progress

Treatment Activity #2A; Inmate Wadley continues sharing his drug use history with his peers, he accepts and gave
feedback. He stated, "Thinking about the consequences of my choices specifically, the suffering | gave to my family.
My motivation is the family and my goal is to be with them: | will maintain my sober status. | have been sober for
fourteen year and | want to stay that way the rest of my life." This activity will remain open longer until he learns
addittonal concepts that will help him to better understand his substance abuse and negative behaviors, Due: This
will be reevaluated by 4/2/2017.

Treatment Activity #2B: Inmate Wadley is tasked with present, support, and participates in the Community Meeting
and seminars in a reguiar fashion. He is working in a new topic for his seminar hour. Inmate explained, "The topic is
the role that the criminality plays in society. This helps me to continue developing honest insight into my drug use,
and criminal lifestyle." Due: This activity will remain open for on-going evaluation throughout the next 60 day review,
which will be by 4/2/2017,

Treatment Activity# 2C: Inmate Wadley continues energetic in activities that he can participate in, while incarcerated
and after release, that are free from drugs and alcohol. He stated that he is active in his Muslim faith mentoring new
brothers. Also he started his classes in Custodies Maintenances this is another goal to complete. This will be
reviewed within 60 days. Due by 4/2/2017.

Understands concepts and demonstrates behavior(s) Date: 11/30/2016 Provider: Garcla-Hernandez, Ariel CTS
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’_ Inmate Name: WADLEY, LODISE Reg #: 57447-0686
Date of Birth: 12/20/1974 Sex: M Race: BLACK Facility. COP
Open Date: 10/04/2016 Closed Date: Status: Active Discussed: Yes

 

indicative of treatment progress .
Treatment Activity #2A: Inmate Wadley started sharing his drug use history with his peers, he accepts and gave
feedback. He stated, “Everything initiated by my wrong belief just for fun. The marijuana was the escape window of
my frustration and disappointments." Due: This activity will be reevaluated by 2/1/2017.

Treatment Activity #28: Inmate Wadley is tasked with present, support, and participates in the Community Meeting
at least once a month. Using the News Letter, "THE CHALLENGER" Inmate Wadley presented as a writer the topic;
"THE INVISIBLE PRISON" in which he presented the importance to have an open mindedness and embrace the
change and a new and positive believe in life. Due: This activity will remain open for on-going evaluation throughout
the next 60 day review, which will be by 2/1/2017.

Treatment Activity# 2C: Inmate Wadley started to identify activities that he can participate in, while incarcerated and
after release, that are free from drugs and alcohol. He stated that the Program, and School, are keeping him busy
and the litter free time hi is socializing with positive peers, and communicating with his family members. He noted
his interest in Custodies Maintenances curses and obtains the proper certification. This will be reviewed within 60
days. Due by 2/1/2017.

 

 

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APPENDIX : C

LETTERS OF SUPPORT FROM FAMILY AND
FRIENDS

 

 
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February 1, 2024

Colby Wadley
1635 Nedro Avenue
Philadelphia, PA 19141

Re: Compassionate Release - First Step Act for Lodise Wadley #5744 7- 066

Dear Judge of the District Court,

My name is Colby Wadley and Pim writing om behalf of my brother Lodise
Wadley. Lodise is my younger brother whom ll be providing a stable home for
when he is released from prison due to the Compassionate Release - First Step
Act. I've been living at my residence for 21 years, where | raised my children and
have plenty of room to house todise. | have been in my field of work for 30 years
and currently at my job for 16 years. Pim a law abiding citizen and have never
been in any legal trouble. fn addition, i'm also an active member and officer of my
church.

| have a great relationship with Lodise. He's shown me throughout his years
in prison, and now as an adult that he’s overcome his shortcomings andl mistakes
made as a young man. His continuous display of good behavior throughout his
time in prison and continuing his education shows me that he’s ready to reenter
society. We've discussed his release several times and what his new living
conditions will be once he resides in my home. Lodise understands my morals,
values and the way | conduct my daily life. | will provide emotional and financial
support for my brother. He will also have support from family as well. Thank you
for taking the time to read my letter. If you have any additional questions or need
any further information, please don’t hesitate to contact me at (267) 226-2083.

Sincerely,

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To whom it may concern, 2/28/2021

My name is Trina Nicholson and I’m writing this letter on behalf of my brother Lodise Wadley Jr,
Base on the severity of his sentence in accordance with the new law requirements set forth by
the First Step Act, my brother Lodise Wadley has petition to the court for a compassionate
release. I truly believe my brother should be considered for the compassionate release program.
My brother and { are very close and I've seen the growth and maturity in him over the years. |
know if given the opportunity he would be a great asset to our family and the community. This
would give him the opportunity to finish his degree and help others in the community. This also
gives him a second chance to be there for his children and be a role model for them. I’m currently
a Corrections Deputy at the Brevard County Sheriff Office. | have been blessed to be with the
agency for 5 years. As a Correctional Deputy working in a correctional institution this has given
me the experience to discern an inmate who is sincere about their rehabilitation process from |
those who may not be mentally prepared to take the steps necessary to rehabilitate themselves.
Base upon this experience | believe that my brother is sincere and mentally prepared to start the
rehabilitation process. My brother has taken all the necessary steps to make a successful
transition into society and maintain his efforts. | truly believe he wants to better himself as a
man, father, son, student, professional and an all-around person. He has support from me and a
fost of family members who will aid and assist him in his transition back to society. . I’m asking
that you consider my bother Lodise Wadley and except his plea for a compassionate release.

Thank you for your time and consideration.

Trina Nicholson
886 Giadiola Cir
Rockledge, Fl 32955

 

 
 

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To Who itmy Concern

 

 

we are the Parent o# lodiae Wadle y. IR,

 

 

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APPENDIX | D

PROOF OF STATUTORY EXHAUSTION
RE QUIREMENT

 
Case 2:03-cr-00249-JLS fage 2? 49 Filed 04/13/21 Page 59 of 71
Front — fog ( . See; AY lachment 3

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JUNE 10

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OF | JUSTICE eo _¥EDERAL BUREAU OF PRISONS

 

 

 

 

 

 

ro: (Name ang rite of Staff Member) DATE: “
__ Warden January 20, 2021
FROM: . RECISTER NO,
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SUBJECT: (Briefly state your suction or concern and the solutien you ‘are reqnesting.
Continue on back, if necessary. Your failure to be specific may result im no action being
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request.

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IB US.C. 3582 CMN2), 8 USC, 4205 (@), oF the First Step Act 16US.C. 3582000),

pub. I. No. (15-391, 132 Stat, 5144, at 5234, BOP program’ statement 5050. 5° cand 16/.13. emt.

n. d}-- > ection 571- Gli) States the Following: A request. For a motion under

ia u.s.c) 4205 Ss or 3582 (QUA) Shall be submitted ty. the warden. Ordinarily, the request

shall be iw: writing; and submitted by the inmate. An ianrate mo in:tiate a request For
_ consideration under (8 v.5.c- 4205 ©) or 35B2)OA) only when there are particularly extra -

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DISPOSITION:

 

Signature Stafi Member : Date

 

 

 

Record Copy ~- File; Copy — Inmate
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This form replaces BP~148.070 dated Oct BS
and BP-S148.070:\AaPR 24

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Case 2:03-cr-00249-JLS Document 149 Filed 04/13/21 Page 63 of 71

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Case 2:03-cr-00249-JLS Document 149 Filed 04/13/21 Page 65 of 71

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2|On. Mace vu, 1002, the 6 Supceme Court. of_The. United States. OF America, -
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BL Dn April 12, 1008, fof honer ciled his. Ficst Motion 4o Vacate, Set 4 cide, or Correct
entence Pursuant te 26 U.g.c. & 245 5 in the Uni bod States Due cl t Cou eC
Costern District of Pennsylvania - See 2p3-er- 2449 (ED. fo JECE Ne._103

 

 

 

 

910n October 21, 2008, petitioner's First § 2255 Molion was denied by Final_order..
See. 21.03- -cg-24g(e.D. fa )ECE No. 107. Pefdioner attempted - to appeal the denial. .oF -

his Firs! £9155 Motion, but_a certificate oF appcalo bility was. snot ssa. See...

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| Case 2:03-cr-00249-JLS Document 149 Filed 04/13/21 Page 67 of 71
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10: On December24, 2012, Petitioner F ‘led_fnis_second..Motion to Vacate. Set Aside or
/ correct Sentence. Porsuont fo. $2185. Motion in.the Unted . States District Couct -
7 I or_the Eastern Distr CASE Pennsylvania. See_2.03-68- 248. (€.D- Pa.) Noe 130...
a : oe January tt, 2Oly Petitioner's second § 2255 Motion was denied by Final_order. See _
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On June 24, 20le, Retitionec, with the asstance of counse| Filed hus thicd

 

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See. 9.05-cR 248 (E-D. fo.) ECF No- 143. feti oner_alleged_that his. career OFFender.

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_ 1.562-( 2015), On August 2e 2001 Petitioner's Lhicd § 2255 Motion wase dismissed
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tt ; pon Petitioners No luntary Notice oF withdrawal. ee. 2103- CR- 244 ED. fo.)
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Case 2:03-cr-00249-JLS Document 149 Filed 04/13/21 Page 68 of 71

 

 

 

 

 

For Verification of the. Facts ocesented in ths request

 

 

 

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Thank youl _

 

 

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TRULINCS 57447066 - WADLEY, LODISE - Unit: GIL-B-C

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FROM: 57447066

TO: WARDEN " .

SUBJECT: ***Request to Staff** WADLEY, LODISE, Reg# 57447066, GIL-B-C
DATE: 02/02/2021 01:39:02 PM

To: Warden
Inmate Work Assignment: B-3

This is a inquiry as to my request for compassionate relief by way of 3582(a)(1}(c) based upon extraordinary and compelling
reasons. | sent this request by mail on 1-25-21, as required in writing my request is not based on the COVIT-19 pandemic but
rather 1b1.13, OTHER REASONS, which allows consideration for compassionate release where a defendant is sentenced base
upon 924{c} convictions(stacked)and disproportionate to what congress now deems appropriate. The rule requires that the
warden be given a 30 day grace period before a defendant could bring this request to the district court. in my request send by
mait to you i demonstrated clearly that i deserve that right to be considered for the compassion due to the unfair length of my
sentence compare to what congress, the sentencing commission and the Supreme Court now deems appropriate. if for some
reason you did not receive my request by mail please let me know and | will send you acopy ASAP. Thank you in advance for
your consideration.

 

 
  

 

 

 

 

 

 

 

 

 

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